1A
 101-7-TDR
 /2009
 /2010
 2ems Inc.
                                                UNITED STATES BANKRUPTCY COURT
                                                   NORTHERN DISTRICT OF OHIO


              In re:                                             §
                                                                 §
              UNIVERSITY DERMATOLOGISTS,                         §     Case No. 15-11415 AIH
              INC.,                                              §
                                                                 §
                                  Debtor                         §

                              CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                              REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                              ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)

                      DAVID O. SIMON, TRUSTEE, chapter 7 trustee, submits this Final Account,
              Certification that the Estate has been Fully Administered and Application to be Discharged.

                      1) All funds on hand have been distributed in accordance with the Trustee’s Final Report
              and, if applicable, any order of the Court modifying the Final Report. The case is fully
              administered and all assets and funds which have come under the trustee’s control in this case
              have been properly accounted for as provided by law. The trustee hereby requests to be
              discharged from further duties as a trustee.

                     2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
              discharged without payment, and expenses of administration is provided below:


              Assets Abandoned: 1,000,000.00                            Assets Exempt: 0.00
              (Without deducting any secured claims)

              Total Distributions to Claimants: 379,144.20              Claims Discharged
                                                                        Without Payment: 2,750,054.34

              Total Expenses of Administration: 601,419.08


                      3) Total gross receipts of $ 981,337.11 (see Exhibit 1), minus funds paid to the debtor
              and third parties of $ 773.83 (see Exhibit 2), yielded net receipts of $ 980,563.28 from the
              liquidation of the property of the estate, which was distributed as follows:




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                                                   CLAIMS           CLAIMS                CLAIMS                 CLAIMS
                                                 SCHEDULED         ASSERTED              ALLOWED                  PAID



SECURED CLAIMS
(from Exhibit 3)                                         $ NA         $ 59,500.00            $ 59,500.00           $ 59,500.00

PRIORITY CLAIMS:
  CHAPTER 7 ADMIN. FEES
  AND CHARGES
  (from Exhibit 4)                                        NA           632,563.31             612,226.13            601,419.08

PRIOR CHAPTER
  ADMIN. FEES AND
  CHARGES (from Exhibit 5)                                NA                  NA                     NA                       NA

  PRIORITY UNSECURED
  CLAIMS (from Exhibit 6)                                 NA           167,112.09             127,742.94                91,151.75

GENERAL UNSECURED
CLAIMS (from Exhibit 7)                                   NA         6,470,050.78           2,978,546.79            228,492.45

TOTAL DISBURSEMENTS                                      $ NA      $ 7,329,226.18         $ 3,778,015.86          $ 980,563.28


                  4) This case was originally filed under chapter 7 on 03/18/2015 . The case was pending
          for 48 months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to
          the United States Trustee.

                  6) An individual estate property record and report showing the final accounting of the
          assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for each
          estate bank account, showing the final accounting of the receipts and disbursements of estate
          funds is attached as Exhibit 9.

                 Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
          foregoing report is true and correct.

          Dated: 02/19/2019                         By:/s/DAVID O. SIMON, TRUSTEE
                                                                            Trustee
          STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
          exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                         EXHIBITS TO
                                                       FINAL ACCOUNT


          EXHIBIT 1 – GROSS RECEIPTS

                         DESCRIPTION                               UNIFORM                        $ AMOUNT
                                                                  TRAN. CODE1                     RECEIVED

Key Bank account                                                    1121-000                           42,949.96

Accounts Receivable                                                 1121-000                          762,858.70

Tax Refund - 2014                                                   1121-000                           12,937.24

Cash on Hand                                                        1129-000                                543.21

Machinery and Fixtures                                              1129-000                           87,501.00

Refund of unemployment taxes                                        1221-000                                 68.87

Unclaimed funds claim                                               1221-000                                567.67

Tax Refund - 2014                                                   1224-000                               5,297.64

Tax refund - 2015                                                   1224-000                               2,190.73

Tax Refund -2015                                                    1224-000                           24,223.00

Refund of insurance premiums                                        1229-000                                272.47

American Express refund                                             1229-000                                 82.68

Liability Insurance Refund                                          1229-000                           22,057.00

Medical Records Charges                                             1229-000                                 48.00




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                             DESCRIPTION                                   UNIFORM                                      $ AMOUNT
                                                                          TRAN. CODE1                                   RECEIVED

Rebate                                                                       1229-000                                             254.65

    Refund of retainer from Frantz Ward                                      1229-000                                        12,768.75

    Refund of fees from Heartland Payment                                    1229-000                                            1,715.54

    REMNANT ASSETS                                                           1229-000                                            5,000.00

TOTAL GROSS RECEIPTS                                                                                                      $ 981,337.11
1
 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


              EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                     PAYEE                                      DESCRIPTION                         UNIFORM              $ AMOUNT
                                                                                                   TRAN. CODE               PAID

                                                    Non-Estate Funds Paid to Third
Carolyn Sweeney                                     Parties                                          8500-000                     102.76

                                                    Non-Estate Funds Paid to Third
Eric B. Baud                                        Parties                                          8500-002                      41.96

                                                    Non-Estate Funds Paid to Third
Gary Lichten                                        Parties                                          8500-002                      57.94

                                                    Non-Estate Funds Paid to Third
Highmark Blue Shield                                Parties                                          8500-002                     280.89

                                                    Non-Estate Funds Paid to Third
KeyBank                                             Parties                                          8500-002                      74.25

                                                    Non-Estate Funds Paid to Third
Primetime Health Plan                               Parties                                          8500-002                      57.94

                                                    Non-Estate Funds Paid to Third
ROJW                                                Parties                                          8500-002                     110.89




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                  PAYEE                                        DESCRIPTION                       UNIFORM             $ AMOUNT
                                                                                                TRAN. CODE              PAID

                                                 Non-Estate Funds Paid to Third
UnitedHealthcare                                 Parties                                         8500-002                     47.20

TOTAL FUNDS PAID TO DEBTOR &                                                                                               $ 773.83
THIRD PARTIES


            EXHIBIT 3 – SECURED CLAIMS

                                                UNIFORM         CLAIMS
                                                                                CLAIMS              CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.       SCHEDULED                                               CLAIMS PAID
                                                                               ASSERTED            ALLOWED
                                                 CODE       (from Form 6D)

            CONSULTANTS,
            KEYSTONE TECHNOLOGY 4210-000                                 NA          3,500.00            3,500.00           3,500.00


            DIRECT CAPITAL
            CORPORATION                         4210-000                 NA        56,000.00           56,000.00           56,000.00

TOTAL SECURED CLAIMS                                                   $ NA       $ 59,500.00         $ 59,500.00       $ 59,500.00


            EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

                                         UNIFORM
                                                             CLAIMS            CLAIMS              CLAIMS
              PAYEE                       TRAN.                                                                      CLAIMS PAID
                                                           SCHEDULED          ASSERTED            ALLOWED
                                          CODE

TRUSTEE
COMPENSATION:DAVID O.
SIMON                                     2100-000                     NA          8,103.89             8,103.89            8,103.89


TRUSTEE
COMPENSATION:HELBLING,
LAUREN A.                                 2100-000                     NA         44,174.27            44,174.27           44,174.27


TRUSTEE EXPENSES:DAVID O.
SIMON                                     2200-000                     NA            418.35                 418.35           418.35




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                                          UNIFORM
                                                          CLAIMS          CLAIMS          CLAIMS
                PAYEE                      TRAN.                                                         CLAIMS PAID
                                                        SCHEDULED        ASSERTED        ALLOWED
                                           CODE

TRUSTEE EXPENSES:HELBLING,
LAUREN A.                                  2200-000                 NA        2,747.02        2,747.02          2,747.02


INSURANCE PARTNERS
AGENCY                                     2300-000                 NA         273.47          273.47            273.47


INSURANCE PARTNERS
AGENCY, INC.                               2300-000                 NA         774.97          774.97            774.97


AKRON GENERAL MEDICAL
CENTER                                     2410-000                 NA       29,068.40      15,000.00           7,500.00


MENTOR MEDICAL CAMPUS
PHYSICIAN BLD                              2410-000                 NA        3,307.05        3,307.05          3,307.05


MENTOR MEDICAL CAMPUS
PHYSICIAN BUI                              2410-000                 NA        9,575.83        3,307.05              0.00


MOUNTAIN, IRON                             2410-000                 NA       10,458.80      10,458.80          10,458.80


TWIN TOWERS LTD.                           2410-000                 NA        5,000.00        5,000.00          5,000.00


UNIVERSITY SUBURBAN REAL
ESTATE LTD                                 2410-000                 NA       12,698.80      12,698.80          12,698.80


TWIN TOWERS SPE LLC                        2420-000                 NA         144.10          144.10            144.10


UNIVERSITY SUBURBAN
HEALTH CENTER                              2420-000                 NA         979.17          979.17            979.17


BOK Financial                              2600-000                 NA        8,042.35        8,042.35          8,042.35


Bank of Kansas City                        2600-000                 NA       14,812.45      14,812.45          14,812.45




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                                           UNIFORM
                                                           CLAIMS          CLAIMS          CLAIMS
                PAYEE                       TRAN.                                                         CLAIMS PAID
                                                         SCHEDULED        ASSERTED        ALLOWED
                                            CODE

CLERK, U.S. BANKRUPTCY
COURT                                       2700-000                 NA        1,050.00        1,050.00          1,050.00


TREASURY, U.S.                              2810-000                 NA      170,648.00      170,648.00       170,648.00


CITY OF PARMA                               2820-000                 NA          835.00          835.00           835.00


JEDD, BATH AKRON FAIRLAWN                   2820-000                 NA        2,603.00        2,603.00          2,603.00


OHIO DEPARTMENT OF
TAXATION                                    2820-000                 NA       28,741.73       28,741.73         28,741.73


RITA                                        2820-000                 NA        5,331.00        5,331.00          5,331.00


ASSOCIATION, KEYBANK
NATIONAL                                    2990-000                 NA           31.15           31.15             31.15


BILLERS, WEST COAST
DERMATOLOGY                                 2990-000                 NA       25,927.02       25,927.02         25,927.02


BK ATTORNEY SERVICES LLC                    2990-000                 NA       30,651.26       30,651.26         30,651.26


CLERK, CUYAOGA COUNTY
PROBATE COURT                               2990-000                 NA           15.00           15.00             15.00


COAST, WEST                                 2990-000                 NA        8,469.51        8,469.51          8,469.51


CONSULTANTS, KEYSTONE
TECHNOLOBY                                  2990-000                 NA        3,627.50        3,627.50          3,627.50


CONSULTANTS, KEYSTONE
TECHNOLOGY                                  2990-000                 NA        7,350.00        7,350.00          7,350.00




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                                           UNIFORM
                                                           CLAIMS          CLAIMS          CLAIMS
                PAYEE                       TRAN.                                                         CLAIMS PAID
                                                         SCHEDULED        ASSERTED        ALLOWED
                                            CODE

HITCHCOCK, KATHY                            2990-000                 NA         256.00          256.00            256.00


INFOSHRED.NET                               2990-000                 NA           99.70          99.70              99.70


PAYCOR                                      2990-000                 NA        1,036.02        1,036.02          1,036.02


SRS SOFTWARE, LLC                           2990-000                 NA        4,401.50        4,401.50          4,401.50


ATTORNEY FOR TRUSTEE FEES
(OTHER FIRM):DODD,
L'HOMMEDIEU & MCGRIEVY,
LLC                                         3210-000                 NA       29,667.00      29,667.00          29,667.00


ATTORNEY FOR TRUSTEE FEES
(OTHER FIRM):FREDERIC P.
SCHWEIG, ESQ.                               3210-000                 NA       41,460.00      41,460.00          41,460.00


ATTORNEY FOR TRUSTEE FEES
(OTHER FIRM):SCHWIEG,
FREDERIC P.                                 3210-000                 NA       30,270.00      30,270.00          30,270.00


ATTORNEY FOR TRUSTEE
EXPENSES (OTHER FIRM):DODD,
L'HOMMEDIEU & MCGRIEVY,
LLC                                         3220-000                 NA           80.84          80.84              80.84


ATTORNEY FOR TRUSTEE
EXPENSES (OTHER
FIRM):FREDERIC P. SCHWEIG,
ESQ.                                        3220-000                 NA         406.81          406.81            406.81




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                                         UNIFORM
                                                          CLAIMS          CLAIMS           CLAIMS
              PAYEE                       TRAN.                                                           CLAIMS PAID
                                                        SCHEDULED        ASSERTED         ALLOWED
                                          CODE

ATTORNEY FOR TRUSTEE
EXPENSES (OTHER
FIRM):SCHWIEG, FREDERIC P.                3220-000                  NA           367.60          367.60           367.60


ACCOUNTANT FOR TRUSTEE
FEES (OTHER FIRM):BRIAN R.
GREENE                                    3410-000                  NA        23,318.75       23,318.75         23,318.75


ACCOUNTANT FOR TRUSTEE
FEES (OTHER FIRM):GREENE,
BRIAN R.                                  3410-000                  NA        17,630.25       17,630.25         17,630.25


BILLERS, WEST COAST
DERMATOLOGY                               3991-000                  NA        47,709.75       47,709.75         47,709.75

TOTAL CHAPTER 7 ADMIN. FEES                                       $ NA     $ 632,563.31    $ 612,226.13      $ 601,419.08
AND CHARGES



            EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                                         UNIFORM
                                                          CLAIMS          CLAIMS           CLAIMS
              PAYEE                       TRAN.                                                           CLAIMS PAID
                                                        SCHEDULED        ASSERTED         ALLOWED
                                          CODE

NA                                              NA                  NA              NA              NA                NA

TOTAL PRIOR CHAPTER ADMIN.                                        $ NA            $ NA            $ NA              $ NA
FEES AND CHARGES



            EXHIBIT 6 – PRIORITY UNSECURED CLAIMS




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                                                                CLAIMS          CLAIMS
                                                   UNIFORM
                                                              SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.               CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                               (from Form    (from Proofs of     ALLOWED
                                                    CODE
                                                                   6E)           Claim)

AUTO          AKRON                                5300-000             NA                 NA         219.15           219.15


000013A       AMY KASSOUF, M.D.                    5300-000             NA          12,475.00       12,475.00       12,475.00


000060        BARRY C. LAMKIN, MD                  5300-000             NA          12,475.00        3,774.67        3,774.67


000037        BITNER, DIANE                        5300-000             NA              432.00        432.00           290.96


000051        BORESZ, MARJORIE                     5300-000             NA              915.48        915.48           616.58


000015        BOSTON, JANICE                       5300-000             NA            1,078.26       1,078.56          723.71


000010        BRENN, KELLY                         5300-000             NA            2,250.00       2,250.00        1,515.37


AUTO          CLEVELAND HTS                        5300-000             NA                 NA           37.23           37.23


000018        DENISE WOMACK                        5300-000             NA            1,121.28       1,121.28          755.17


000054A       ERIC BAUD                            5300-000             NA          12,475.00       12,475.00       12,475.00


000007        ESQUIVEL, DEBRA                      5300-000             NA            2,800.00       2,800.00        1,871.80


000019A       GARY D. LICHTEN, M.D.                5300-000             NA          12,465.00       12,475.00       12,475.00


000039        GOODE, ANDRIA                        5300-000             NA              676.00        676.00           453.60


000020        HAGUE, PATRICIA                      5300-000             NA            4,195.36       1,058.93          707.90


000001        HARDESTY, ANNA                       5300-000             NA            1,359.02        396.90           266.31


000068        HULEC, KAREN                         5300-000             NA            2,101.44        191.04           129.62




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                                                                CLAIMS          CLAIMS
                                                   UNIFORM
                                                              SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.               CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                               (from Form    (from Proofs of     ALLOWED
                                                    CODE
                                                                   6E)           Claim)

              INTERNAL REVENUE
AUTO          SERVICE                              5300-000             NA                 NA        6,606.19        6,606.19


000014        KOVACIK, JUDITH                      5300-000             NA            4,640.00        859.14           582.92


000003        LEWIS, KYLE                          5300-000             NA            1,654.80       1,654.80        1,110.38


000002        MARIA J. KEELER                      5300-000             NA            4,719.28       4,422.32        2,967.39


000005        MCDICKEN, SUSAN                      5300-000             NA            1,645.28       1,645.28        1,108.08


000004        NEMETH, MARIANNA                     5300-000             NA            5,406.84       1,483.24          995.25


AUTO          OHIO DEPT OF TAXATION 5300-000                            NA                 NA         716.77           716.77


000011        ORLANDO, MARLENE                     5300-000             NA            7,344.00       1,224.00          818.24


AUTO          PARMA                                5300-000             NA                 NA         127.07           127.07


AUTO          S EUCLID                             5300-000             NA                 NA         127.29           127.29


000050        SANDRA K. KOCHER                     5300-000             NA            1,683.17       1,683.17        1,129.40


AUTO          WESTLAKE DIV TAX                     5300-000             NA                 NA           15.76           15.76


000032A       ZAIM, TARIF                          5300-000             NA          12,475.00       12,475.00       12,475.00


000041        CITY OF PARMA                        5800-000             NA              440.90        440.90           440.90


              INTERNAL REVENUE
000030A       SERVICE                              5800-000             NA              500.00        500.00           500.00




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                                                                CLAIMS           CLAIMS
                                                   UNIFORM
                                                              SCHEDULED         ASSERTED           CLAIMS
CLAIM NO.               CLAIMANT                    TRAN.                                                         CLAIMS PAID
                                                               (from Form     (from Proofs of     ALLOWED
                                                    CODE
                                                                   6E)            Claim)

              INTERNAL REVENUE
AUTO          SERVICE                              5800-000             NA                  NA         1,827.75        1,827.75


              OHIO BUREAU OF
000062A       WORKERS' COMPENSATI                  5800-000             NA           10,755.22        10,755.22       10,755.22


              OHIO DEPARTMENT OF
000016        TAXATION                             5800-000             NA             3,006.81        2,305.39             0.00


              OHIO DEPARTMENT OF
000048        TAXATION                             5800-000             NA           36,283.67        26,436.34             0.00


              REGIONAL INCOME TAX
000072        AGENCY                               5800-000             NA                61.07           61.07           61.07

TOTAL PRIORITY UNSECURED                                               $ NA       $ 167,112.09     $ 127,742.94      $ 91,151.75
CLAIMS



             EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                                CLAIMS           CLAIMS
                                                   UNIFORM
                                                              SCHEDULED         ASSERTED           CLAIMS
CLAIM NO.               CLAIMANT                    TRAN.                                                         CLAIMS PAID
                                                               (from Form     (from Proofs of     ALLOWED
                                                    CODE
                                                                   6F)            Claim)

              AKRON GENERAL
000033        MEDICAL CENTER                       7100-000             NA           21,809.02        21,809.02        1,679.67


000013B       AMY KASSOUF, MD                      7100-000             NA           92,556.90        92,556.90        7,128.48


              ANSWERING SERVICE
000031        INC.                                 7100-000             NA               349.29          349.29           26.90




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                                                              CLAIMS          CLAIMS
                                                 UNIFORM
                                                            SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                         CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6F)           Claim)

            APEX HEALTH
000055      SOLUTIONS                            7100-000             NA              102.59        102.59               7.90


            BAINBRIDGE CENTER
000059      PARTNERS LLC                         7100-000             NA            5,017.00       5,017.00            386.40


000026      BDO USA, LLP                         7100-000             NA            5,760.00       5,760.00            443.62


            BELAIR INSTRUMENT
000006      COMPANY LLC                          7100-000             NA            2,208.54       2,208.54            170.10


            CHAGRIN ANSWERING
000056      SERVICE                              7100-000             NA            9,214.60       9,214.60            709.68


            DIANA L. BALA, MA,
000053      LPCC-S, NCC                          7100-000             NA              285.98        285.98              22.03


            DISTILLATA COMPANY,
000042      THE                                  7100-000             NA              332.53        332.53              25.61


            DISTILLATA COMPANY,
000043      THE                                  7100-000             NA              212.99        212.99              16.40


            EASTON TELECOM
000021      SERVICES, LLC                        7100-000             NA          13,586.33       13,586.33          1,046.38


000029      ENVIRONMENT CONTROL 7100-000                              NA              507.06        507.06               0.00


000054B     ERIC BAUD                            7100-000             NA          64,074.24       64,074.24          4,934.82


            ESTATE OF WILLIAM S.
000061A     LYNCH, M.D.                          7100-000             NA       3,247,574.45              0.00            0.00




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                                                              CLAIMS          CLAIMS
                                                 UNIFORM
                                                            SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                         CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6F)           Claim)

000019B     GARY D. LICHTEN, MD                  7100-000             NA          74,167.20       74,167.20          5,712.15


            GUARDIAN LIFE
000036      INSURANCE COMPANY                    7100-000             NA              999.26        999.26              76.96


            ILLUMINATING
000040      COMPANY                              7100-000             NA              812.89        812.89              62.61


            INTERNAL REVENUE
000030B     SERVICE                              7100-000             NA              300.00        300.00              23.11


000034      JOHN R. MELODY                       7100-000             NA            1,704.33       1,704.33            131.26


000046      JOHN R. MELODY                       7100-000             NA            1,704.33             0.00            0.00


000065      KOOKEN, ANN                          7100-000             NA         119,990.26       85,367.26          6,574.75


            LAKE BUSINESS
000024      PRODUCTS, INC.                       7100-000             NA              161.19        161.19              12.41


            LEICA MICROSYSTEMS
000047      INC.                                 7100-000             NA            3,116.84       3,116.84            240.05


            MCKESSON MEDICAL
000052      SURGICAL, INC.                       7100-000             NA          26,881.47       26,881.47          2,070.34


            MCKESSON SPECIALTY
000035      CARE DISTRIBUTIO                     7100-000             NA            8,883.52       8,883.52            684.18


            MEDIC MANAGEMENT
000023      GROUP, LLC                           7100-000             NA          30,044.37       30,044.37          2,313.93




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                                                              CLAIMS          CLAIMS
                                                 UNIFORM
                                                            SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                         CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6F)           Claim)

            MENTOR MEDICAL
000067      CAMPUS PHYSICIAN BUI                 7100-000             NA          28,022.34       28,022.34          2,158.20


000064      MOOSALLY, ALLISON                    7100-000             NA         455,827.16      352,022.16         27,111.77


            OHIO CRYOGENIC
000049      SERVICES                             7100-000             NA            4,113.50       4,113.50            316.81


000058      OWNER'S MANAGEMENT                   7100-000             NA            5,930.00       5,930.00            456.71


            PARMA REAL ESTATE
000028      PARTNERS                             7100-000             NA          12,394.97       12,394.97            954.63


            POLY SCIENTIFIC R&D
000027      CORP.                                7100-000             NA              516.65         516.65             39.79


000025      PORATH PRINT SOURCE                  7100-000             NA            3,327.02       3,327.02            256.24


000057      SUMMACARE INC.                       7100-000             NA              629.13         629.13             48.45


000009      TOP DAWG GROUP LLC                   7100-000             NA            4,839.26             0.00            0.00


000022      TOP DAWG GROUP LLC                   7100-000             NA            4,738.36       4,738.36            364.94


            UNIVERSITY SUBURBAN
000008      REAL ESTATE, LT                      7100-000             NA          55,432.41       55,432.41          4,269.25


            WEST NOTIFICATIONS,
000012      INC.                                 7100-000             NA            5,989.46       5,989.46            461.29


000063      WOODHOUSE, JUSTIN                    7100-000             NA         432,494.77      333,497.77         25,685.07




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                                                              CLAIMS           CLAIMS
                                                 UNIFORM
                                                            SCHEDULED         ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                          CLAIMS PAID
                                                             (from Form     (from Proofs of     ALLOWED
                                                  CODE
                                                                 6F)            Claim)

000032B     ZAIM, TARIF                          7100-000             NA        1,711,560.12      1,711,560.12       131,819.60


            CLERK, U.S.
            BANKRUPTCY COURT                     7100-001             NA                 0.00            39.05            39.05


            DISTILLATA COMPANY,
000044      THE                                  7100-001             NA                57.40            57.40             4.42


            DISTILLATA COMPANY,
000045      THE                                  7100-001             NA                 9.25             9.25             0.71


000038      MEDI-SCRIPTS                         7100-001             NA                59.99            59.99             4.62


            OHIO BUREAU OF
            WORKERS'
000062B     COMPENSATIO                          7100-001             NA                15.00            15.00             1.16


            CENTERS FOR MEDICARE
000070      & MEDICAID SER                       7200-000             NA             2,298.73         2,298.73             0.00


            FIDELITY VOICE
000069      SERVICES, LLC                        7200-000             NA             8,129.26         8,129.26             0.00


000071      SLMP LLC                             7200-000             NA             1,308.82         1,308.82             0.00

TOTAL GENERAL UNSECURED                                              $ NA     $ 6,470,050.78    $ 2,978,546.79     $ 228,492.45
CLAIMS




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                                                                                        FORM 1
                                                                    INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                   Page:       1
                                                                                     ASSET CASES                                                                                                     Exhibit 8
Case No:            15-11415          AIH Judge: ARTHUR I. HARRIS                                                             Trustee Name:                      DAVID O. SIMON, TRUSTEE
Case Name:          UNIVERSITY DERMATOLOGISTS, INC.,                                                                         Date Filed (f) or Converted (c):    03/18/15 (f)
                                                                                                                             341(a) Meeting Date:                04/20/15
For Period Ending: 02/19/19                                                                                                  Claims Bar Date:                    08/13/15



                                          1                                  2                         3                          4                         5                                  6
                                                                                              Estimated Net Value
                                                                         Petition/       (Value Determined by Trustee,     Property Formally           Sale/Funds                Asset Fully Administered (FA)/
                              Asset Description                         Unscheduled         Less Liens, Exemptions,           Abandoned                Received by              Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                Values               and Other Costs)           OA=554(a) Abandon             the Estate

 1. Cash on Hand                                                                  0.00                             1.00                                            543.21                   FA
 2. Key Bank account                                                        42,946.96                        42,949.96                                           42,949.96                  FA
 3. Security Deposits                                                             0.00                             0.00                                               0.00                  FA
 4. Accounts Receivable                                                   1,577,513.15                     1,577,513.15                                         762,858.70                  FA
 5. Receivable from the Estate of Dr. William Lynch                       1,000,000.00                             1.00                                               0.00                  FA
 6. Miscellaneous judgment liens against patients                            Unknown                               0.00                                               0.00                  FA
 7. Customer list (patient information)                                      Unknown                               0.00                                               0.00                  FA
 8. Office Equipment                                                              0.00                             0.00                                               0.00                  FA
 9. Machinery and Fixtures                                                 327,041.39                        87,501.00                                           87,501.00                  FA
 10. Refund of insurance premiums (u)                                             0.00                          272.47                                             272.47                   FA
 11. Tax Refund - 2014 (u)                                                        0.00                       18,234.88                                           18,234.88                  FA
 12. American Express refund (u)                                                  0.00                           82.68                                               82.68                  FA
 13. Liability Insurance Refund (u)                                               0.00                         2,818.00                                          22,057.00                  FA
 14. Medical Records Charges (u)                                                  0.00                           48.00                                               48.00                  FA
 15. Rebate (u)                                                                   0.00                          254.65                                             254.65                   FA
 16. Refund of retainer from Frantz Ward (u)                                      0.00                       12,768.75                                           12,768.75                  FA
 17. Refund of fees from Heartland Payment (u)                                    0.00                         1,671.40                                           1,715.54                  FA
 18. Refund of unemployment taxes (u)                                             0.00                           68.87                                               68.87                  FA
 19. Unclaimed funds claim (u)                                                    0.00                          567.67                                             567.67                   FA
 20. Fradulent transfer claims (u)                                                0.00                             1.00                                               0.00                  FA
 21. Kooken preference payment (u)                                                0.00                       23,503.00                                                0.00                  FA
 22. Moosally preference (u)                                                      0.00                       40,488.00                                                0.00                  FA
 23. Woodhouse preference (u)                                                     0.00                       75,173.00                                                0.00                  FA
 24. Tax refund - 2015 (u)                                                        0.00                         2,190.73                                           2,190.73                  FA
 25. REMNANT ASSETS (u)                                                       5,000.00                         5,000.00                                           5,000.00                  FA
 26. Tax Refund -2015 (u)                                                   24,223.00                        24,223.00                                           24,223.00                  FA



LFORM1                                                                                                                                                                                                     Ver: 21.00a
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                                                                                                  FORM 1
                                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                              Page:        2
                                                                                               ASSET CASES                                                                                                                Exhibit 8
Case No:             15-11415        AIH Judge: ARTHUR I. HARRIS                                                                                Trustee Name:                       DAVID O. SIMON, TRUSTEE
Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                                          Date Filed (f) or Converted (c):     03/18/15 (f)
                                                                                                                                               341(a) Meeting Date:                 04/20/15
                                                                                                                                               Claims Bar Date:                     08/13/15



                                        1                                                   2                            3                          4                         5                                     6
                                                                                                              Estimated Net Value
                                                                                      Petition/          (Value Determined by Trustee,       Property Formally           Sale/Funds                   Asset Fully Administered (FA)/
                              Asset Description                                      Unscheduled            Less Liens, Exemptions,             Abandoned                Received by                 Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                             Values                  and Other Costs)             OA=554(a) Abandon             the Estate


                                                                                                                                                                                                   Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                                     $2,976,724.50                     $1,915,332.21                                            $981,337.11                            $0.00
                                                                                                                                                                                                   (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   RE PROP# 4---The debtor's accounts receivable were scheduled at book value, which substantially inflated the actual
     collectible amount. There were no credits applied for insurance discounts, unapproved services and the like. There was
     no bad debt reseerve. The amount reflected as receipts represents the total amount of accounts receivable collected as a
      result of reasonable diligence by the trustee.
   RE PROP# 5---Claim waived as part of the compromise with the Lynch Estate. See Order 8/2/17
   RE PROP# 7---Transferred with machinery and fixtures
   RE PROP# 8---Sold with machinery and fixtures
   RE PROP# 20---Debtor paid for personal purchases of William Lynch. Seeking recovery from initial transferre for those
     payments. Investigating the different lenders who received payment. Investigation is ongoing. Legal resesarch
     indicates this will not be recoverable.
   RE PROP# 21---Compromised; see order 1/10/18
   RE PROP# 22---Compromised; see order 1/10/18
   RE PROP# 23---Compromised; see order 1/10/18
   RE PROP# 25---This asset is described as unscheduled because the nature is unknown. The category represents any known or
      unknown unadministered asset of any kind or type.
   RE PROP# 26---This is a refund generated as a result of an amendment to the Estate's 2015 federal income tax return
     after the court-approved interim distribution.




LFORM1                                                                                                                                                                                                                           Ver: 21.00a
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                                                                                         FORM 1
                                                                     INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                  Page:       3
                                                                                      ASSET CASES                                                                                    Exhibit 8
Case No:            15-11415       AIH Judge: ARTHUR I. HARRIS                                                        Trustee Name:                      DAVID O. SIMON, TRUSTEE
Case Name:          UNIVERSITY DERMATOLOGISTS, INC.,                                                                  Date Filed (f) or Converted (c):   03/18/15 (f)
                                                                                                                      341(a) Meeting Date:               04/20/15
                                                                                                                      Claims Bar Date:                   08/13/15
   Initial Projected Date of Final Report (TFR): 12/31/16   Current Projected Date of Final Report (TFR): 08/31/18


           /s/     DAVID O. SIMON, TRUSTEE
   __________________________________________ Date: 02/19/19
           DAVID O. SIMON, TRUSTEE




LFORM1                                                                                                                                                                                     Ver: 21.00a
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                                                                                              FORM 2                                                                                    Page:    1
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                     Exhibit 9
  Case No:             15-11415 -AIH                                                                                   Trustee Name:                    DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                Bank Name:                       BOK Financial
                                                                                                                       Account Number / CD #:           *******6468 Checking Account
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                          Blanket Bond (per case limit):   $ 2,000,000.00
                                                                                                                       Separate Bond (if applicable):


           1              2                             3                                             4                                            5                     6                  7
    Transaction       Check or                                                                                                Uniform                                                   Account / CD
       Date           Reference               Paid To / Received From                     Description Of Transaction         Tran. Code       Deposits ($)       Disbursements ($)       Balance ($)
                                                                                 BALANCE FORWARD                                                                                                     0.00
          07/27/17        4       FIRST FEDERAL CREDIT CONTROL                   ACCOUNTS RECEIVABLE                         1121-000                   647.29                                    647.29
          07/28/17                BANK OF KANSAS CITY                            TRANSFER FROM PREDECESSOR TRUSTEE           9999-002              342,105.81                               342,753.10
          07/31/17                BOK Financial                                  BANK SERVICE FEE                            2600-000                                         65.60         342,687.50
          08/25/17        4       FIRST FEDERAL CREDIT CONTROL                   ACCOUNTS RECEIVABLE                         1121-000                   145.02                              342,832.52
          08/31/17                BOK Financial                                  BANK SERVICE FEE                            2600-000                                        509.34         342,323.18
          09/29/17                BOK Financial                                  BANK SERVICE FEE                            2600-000                                        492.38         341,830.80
          10/02/17        4       FIRST FEDERAL CREDIT CONTROL                   ACCOUNTS RECEIVABLE                         1121-000                    75.36                              341,906.16
          10/19/17        4       CRAIG SHOPNECK, CHAPTER 13 TRUSTEE             ACCOUNTS RECEIVABLE                         1121-000                    11.32                              341,917.48
                                  ESTATE OF SPIVEY, 14-12543
          10/30/17        4       FIRST FEDERAL CREDIT CONTROL                   ACCOUNTS RECEIVABLE                         1121-000                   449.16                              342,366.64
          10/31/17                BOK Financial                                  BANK SERVICE FEE                            2600-000                                        508.16         341,858.48
          11/27/17        4       FIRST FEDERAL CREDIT CONTROL                   ACCOUNTS RECEIVABLE                         1121-000                   380.37                              342,238.85
          11/30/17                BOK Financial                                  BANK SERVICE FEE                            2600-000                                        491.70         341,747.15
          12/29/17                BOK Financial                                  BANK SERVICE FEE                            2600-000                                        507.93         341,239.22
          01/02/18        4       FIRST FEDERAL CREDIT CONTROL                   ACCOUNTS RECEIVABLE                         1121-000                   174.19                              341,413.41
          01/04/18     001000     INSURANCE PARTNERS AGENCY                      BLANKET BOND RENEWAL                        2300-000                                        118.47         341,294.94
                                                                                 BLANKET BOND RENEWAL
          01/26/18        4       FIRST FEDERAL CREDIT CONTROL                   ACCOUNTS RECEIVABLE                         1121-000                    19.50                              341,314.44
          01/31/18                BOK Financial                                  BANK SERVICE FEE                            2600-000                                        507.31         340,807.13
          02/26/18        4       FIRST FEDERAL CREDIT CONTROL                   ACCOUNTS RECEIVABLE                         1121-000                   155.94                              340,963.07
          02/28/18                BOK Financial                                  BANK SERVICE FEE                            2600-000                                        457.52         340,505.55
          03/28/18       17       HEARTLAND                                      SETTLEMENT                                  1229-000                    44.14                              340,549.69
          03/28/18        4       FIRST FEDERAL CREDIT CONTROL                   ACCOUNTS RECEIVABLE                         1121-000                   467.83                              341,017.52
          03/30/18                BOK Financial                                  BANK SERVICE FEE                            2600-000                                        506.09         340,511.43
          04/26/18        4       FIRST FEDERAL CREDIT CONTROL                   ACCOUNTS RECEIVABLE                         1121-000                   491.27                              341,002.70
                                                                                 ANY REMAINING BALANCES SOLD TO OPK
                                                                                 POINT PARTNERS AS PART OF REMNANT
                                                                                 SALE


                                                                                                                       Page Subtotals              345,167.20                4,164.50
                                                                                                                                                                                                Ver: 21.00a
LFORM24
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                                                                                                 FORM 2                                                                                        Page:    2
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                            Exhibit 9
  Case No:             15-11415 -AIH                                                                                       Trustee Name:                      DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                    Bank Name:                         BOK Financial
                                                                                                                           Account Number / CD #:             *******6468 Checking Account
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                              Blanket Bond (per case limit):     $ 2,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1              2                               3                                               4                                            5                       6                   7
    Transaction       Check or                                                                                                    Uniform                                                      Account / CD
       Date           Reference               Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)
          04/30/18                BOK Financial                                  BANK SERVICE FEE                                2600-000                                           489.83         340,512.87
          05/09/18       25       OAK POINT PARTNERS                             SALE OF REMNANT ASSETS                          1229-000                   5,000.00                               345,512.87
          05/21/18       26       IRS                                            TAX REFUND                                      1224-000               24,223.00                                  369,735.87
          05/31/18                BOK Financial                                  BANK SERVICE FEE                                2600-000                                           522.70         369,213.17
          06/29/18                BOK Financial                                  BANK SERVICE FEE                                2600-000                                           531.06         368,682.11
          09/26/18     001001     David O. Simon                                 Chapter 7 Compensation/Fees                     2100-000                                          8,103.89        360,578.22
                                  55 Public Square, Suite 2100
                                  Cleveland, OH 44113
          09/26/18     001002     David O. Simon                                 Chapter 7 Expenses                              2200-000                                           418.35         360,159.87
                                  55 Public Square, Suite 2100
                                  Cleveland, OH 44113
          09/26/18     001003     BRIAN R. GREENE                                ACCOUNTANT FEES                                 3410-000                                      23,318.75           336,841.12
                                  Colagiovanni & Greene
                                  7840 Mayfield Road
                                  Chesterland, OH 44026
          09/26/18     001004     Clerk, U.S. Bankruptcy Court                   Adv. Filing Fee #17-1028; 17-1029;              2700-000                                          1,050.00        335,791.12
                                  Howard M. Metzenbaum Courthouse                17-1030
                                  201 Superior Avenue, 1st FL
                                  Cleveland, OH 44114-1235
          09/26/18     001005     Frederic P. Schweig, Esq.                      TRUSTEE ATTORNEY EXPENSES                       3220-000                                           406.81         335,384.31
                                  2705 Gibson Drive
                                  Rocky River, OH 44116-3008
          09/26/18     001006     Frederic P. Schweig, Esq.                      TRUSTEE ATTORNEY FEES                           3210-000                                      41,460.00           293,924.31
                                  2705 Gibson Drive
                                  Rocky River, OH 44116-3008
          09/26/18     001007     Amy Kassouf, M.D.                              Claim 000013A, Payment 100.00000%               5300-000                                      12,475.00           281,449.31
                                  c/o Rachel L. Steinlage, Esq.
                                  28601 Chagrin Boulevard, Suite 500
                                  Cleveland, Ohio 44122



                                                                                                                           Page Subtotals               29,223.00                  88,776.39
                                                                                                                                                                                                       Ver: 21.00a
LFORM24
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                                                                                                FORM 2                                                                                        Page:    3
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                          Exhibit 9
  Case No:             15-11415 -AIH                                                                                      Trustee Name:                    DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                   Bank Name:                       BOK Financial
                                                                                                                          Account Number / CD #:           *******6468 Checking Account
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                             Blanket Bond (per case limit):   $ 2,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1              2                               3                                              4                                            5                       6                   7
    Transaction       Check or                                                                                                   Uniform                                                      Account / CD
       Date           Reference               Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          09/26/18     001008     Gary D. Lichten, M.D.                           Claim 000019A, Payment 100.00000%             5300-000                                       12,475.00          268,974.31
                                  3789 Mapleleaf Hill
                                  Akron, OH 44333
          09/26/18     001009     Lori Ann Muller-Zaim, Trustee                   Claim 000032A, Payment 100.00000%             5300-000                                       12,475.00          256,499.31
                                  6 Deerfield Dr
                                  Chagrin Falls, OH 44022
          09/26/18     001010     Eric Baud                                       Claim 000054A, Payment 100.00000%             5300-000                                       12,475.00          244,024.31
                                  2248 Coventry Rd.
                                  Cleveland Hts., OH 44118
          09/26/18     001011     Barry C. Lamkin, MD                             Claim 000060, Payment 100.00000%              5300-000                                          3,774.67        240,249.64
                                  3533 Scotswood Circle
                                  Richfield OH 44286
          09/26/18     001012     INTERNAL REVENUE SERVICE                        Claim 000030A, Payment 100.00000%             5800-000                                           500.00         239,749.64
                                  P O BOX 7317
                                  PHILADELPHIA, PA 19101-7317
          09/26/18     001013     CITY OF PARMA                                   Claim 000041, Payment 100.00000%              5800-000                                           440.90         239,308.74
                                  DIVISION OF TAXATION
                                  6611 RIDGE RD.
                                  PARMA, OHIO 44129
          09/26/18     001014     Ohio Bureau of Workers' Compensation            Claim 000062A, Payment 100.00000%             5800-000                                       10,755.22          228,553.52
                                  Attn: Law Section Bankr Unit
                                  P.O. Box 15567
                                  Columbus OH 43215-0567
          09/26/18     001015     Regional Income Tax Agency                      Claim 000072, Payment 100.00000%              5800-000                                            61.07         228,492.45
                                  Attn Legal Dept
                                  PO Box 470537
                                  Broadview Hts, Ohio 44147
          09/26/18     001016     Belair Instrument Company LLC                   Claim 000006, Payment 7.70192%                7100-000                                           170.10         228,322.35
                                  36 Commerce Street
                                  Springfield, NJ 07081

                                                                                                                          Page Subtotals                        0.00              53,126.96
                                                                                                                                                                                                      Ver: 21.00a
LFORM24
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                                                                                                FORM 2                                                                                        Page:    4
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                          Exhibit 9
  Case No:             15-11415 -AIH                                                                                      Trustee Name:                    DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                   Bank Name:                       BOK Financial
                                                                                                                          Account Number / CD #:           *******6468 Checking Account
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                             Blanket Bond (per case limit):   $ 2,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1              2                               3                                              4                                            5                       6                   7
    Transaction       Check or                                                                                                   Uniform                                                      Account / CD
       Date           Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          09/26/18     001017     University Suburban Real Estate                 Claim 000008, Payment 7.70172%                7100-000                                          4,269.25        224,053.10
                                  UniversitySuburban Health Ctr
                                  ATTN: Gregory McCarthy
                                  1611 S. Green Road, Ste. A61
                                  South Euclid OH 44121
          09/26/18     001018     West Notifications, Inc.                        Claim 000012, Payment 7.70170%                7100-000                                           461.29         223,591.81
                                  dba Televox Software
                                  Att: Melody Lohr
                                  11808 Miracle Hills Dr., Fl 3
                                  Omaha, NE 68154
          09/26/18     001019     Amy Kassouf, MD                                 Claim 000013B, Payment 7.70173%               7100-000                                          7,128.48        216,463.33
                                  c/o Rachel L. Steinlage, Esq.
                                  28601 Chagrin Blvd., Suite 500
                                  Cleveland, OH 44122
          09/26/18     001020     Gary D. Lichten, M.D.                           Claim 000019B, Payment 7.70172%               7100-000                                          5,712.15        210,751.18
                                  3789 Mapleleaf Hill
                                  Akrin, OH 44333
          09/26/18     001021     Easton Telecom Services, LLC                    Claim 000021, Payment 7.70171%                7100-000                                          1,046.38        209,704.80
                                  3046 Brecksville Rd, Summit A
                                  Richfield, OH 44286
          09/26/18     001022     Top Dawg Group LLC                              Claim 000022, Payment 7.70182%                7100-000                                           364.94         209,339.86
                                  220 Eastview Dr., Ste 103
                                  Brooklyn Heights OH 44131
          09/26/18     001023     Medic Management Group, LLC                     Claim 000023, Payment 7.70171%                7100-000                                          2,313.93        207,025.93
                                  Attn: Sarah Scroggins
                                  275 Springside Drive
                                  Akron, OH 44333
          09/26/18     001024     Lake Business Products, Inc.                    Claim 000024, Payment 7.69899%                7100-000                                            12.41         207,013.52
                                  37200 Research Drive
                                  Eastlake OH 44095

                                                                                                                          Page Subtotals                        0.00              21,308.83
                                                                                                                                                                                                      Ver: 21.00a
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                                                                                                FORM 2                                                                                       Page:     5
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                         Exhibit 9
  Case No:             15-11415 -AIH                                                                                      Trustee Name:                    DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                   Bank Name:                       BOK Financial
                                                                                                                          Account Number / CD #:           *******6468 Checking Account
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                             Blanket Bond (per case limit):   $ 2,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1              2                               3                                              4                                            5                       6                  7
     Transaction      Check or                                                                                                   Uniform                                                     Account / CD
        Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
          09/26/18     001025     Porath Print Source                             Claim 000025, Payment 7.70179%                7100-000                                           256.24        206,757.28
                                  21000 Miles Pkwy
                                  Cleveland OH 44128
          09/26/18     001026     BDO USA, LLP                                    Claim 000026, Payment 7.70174%                7100-000                                           443.62        206,313.66
                                  Attn: Laurence Goldberg
                                  4135 Mendenhall Oaks Parkway, Ste. #140
                                  High Point, NC 27265-8143
          09/26/18     001027     Poly Scientific R&D Corp.                       Claim 000027, Payment 7.70154%                7100-000                                            39.79        206,273.87
                                  70 Cleveland Avenue
                                  Bay Shore NY 11706
          09/26/18     001028     Parma Real Estate Partners                      Claim 000028, Payment 7.70175%                7100-000                                           954.63        205,319.24
                                  PO Box 470473
                                  Broadview Heights, OH 44147
 *        09/26/18     001029     Environment Control                             Claim 000029, Payment 7.70126%                7100-000                                            39.05        205,280.19
                                  1897 East Aurora Road
                                  Twinsburg OH 44087
          09/26/18     001030     INTERNAL REVENUE SERVICE                        Claim 000030B, Payment 7.70333%               7100-000                                            23.11        205,257.08
                                  P O BOX 7317
                                  PHILADELPHIA, PA 19101-7317
          09/26/18     001031     Answering Service Inc.                          Claim 000031, Payment 7.70134%                7100-000                                            26.90        205,230.18
                                  5767 Mayfield Road
                                  Mayfield Heights OH 44124
          09/26/18     001032     Lori Ann Muller-Zaim, Trustee                   Claim 000032B, Payment 7.70172%               7100-000                                      131,819.60             73,410.58
                                  6 Deerfield Dr
                                  Chagrin Falls OH 44022
          09/26/18     001033     Akron General Medical Center                    Claim 000033, Payment 7.70172%                7100-000                                          1,679.67           71,730.91
                                  c/o Christopher J. Niekamp
                                  23 S. Main Street, Third Floor
                                  Akron, Ohio 44308
          09/26/18     001034     John R. Melody                                  Claim 000034, Payment 7.70156%                7100-000                                           131.26            71,599.65

                                                                                                                          Page Subtotals                        0.00           135,413.87
                                                                                                                                                                                                     Ver: 21.00a
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                          Exhibit 9
  Case No:             15-11415 -AIH                                                                                      Trustee Name:                    DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                   Bank Name:                       BOK Financial
                                                                                                                          Account Number / CD #:           *******6468 Checking Account
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                             Blanket Bond (per case limit):   $ 2,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1              2                                 3                                            4                                            5                       6                   7
    Transaction       Check or                                                                                                   Uniform                                                      Account / CD
       Date           Reference               Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                  1827 Maywood Rd
                                  South Euclid OH 44121
          09/26/18     001035     McKesson Specialty Care Distribution            Claim 000035, Payment 7.70168%                7100-000                                           684.18             70,915.47
                                  401 Mason Rd
                                  LaVergne TN 37086
          09/26/18     001036     Guardian Life Insurance Company                 Claim 000036, Payment 7.70170%                7100-000                                            76.96             70,838.51
                                  PO Box 26030
                                  Lehigh Valley PA 18002
          09/26/18     001037     Illuminating Company                            Claim 000040, Payment 7.70215%                7100-000                                            62.61             70,775.90
                                  1310 Fairmont Ave
                                  Fairmont, WV 26554
          09/26/18     001038     Distillata Company, The                         Claim 000042, Payment 7.70156%                7100-000                                            25.61             70,750.29
                                  1608 East 24th Street
                                  Cleveland OH 44114
          09/26/18     001039     Distillata Company, The                         Claim 000043, Payment 7.69989%                7100-000                                            16.40             70,733.89
                                  1608 East 24th Street
                                  Cleveland OH 44114
          09/26/18     001040     Leica Microsystems Inc.                         Claim 000047, Payment 7.70171%                7100-000                                           240.05             70,493.84
                                  Credit Dept. - Judy Whiting
                                  1700 Leider Lane
                                  Buffalo Grove, IL 60089
          09/26/18     001041     Ohio Cryogenic Services                         Claim 000049, Payment 7.70171%                7100-000                                           316.81             70,177.03
                                  3471 Killian Rd
                                  Uniontown OH 44685
          09/26/18     001042     MCKESSON MEDICAL SURGICAL, INC.                 Claim 000052, Payment 7.70174%                7100-000                                          2,070.34            68,106.69
                                  P.O. BOX 933027
                                  ATLANTA, GA 23228
          09/26/18     001043     Diana L. Bala, MA, LPCC-S, NCC                  Claim 000053, Payment 7.70334%                7100-000                                            22.03             68,084.66
                                  164 Ferguson Drive
                                  Tallmadge, OH 44278-2812

                                                                                                                          Page Subtotals                        0.00               3,514.99
                                                                                                                                                                                                      Ver: 21.00a
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                                                                                               FORM 2                                                                                        Page:     7
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                          Exhibit 9
  Case No:             15-11415 -AIH                                                                                     Trustee Name:                    DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                  Bank Name:                       BOK Financial
                                                                                                                         Account Number / CD #:           *******6468 Checking Account
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                            Blanket Bond (per case limit):   $ 2,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1              2                               3                                             4                                            5                       6                   7
    Transaction       Check or                                                                                                  Uniform                                                      Account / CD
       Date           Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          09/26/18     001044     Eric Baud                                      Claim 000054B, Payment 7.70172%               7100-000                                          4,934.82            63,149.84
                                  2248 Coventry Road
                                  Cleveland Hts., OH 44118
          09/26/18     001045     Apex Health Solutions                          Claim 000055, Payment 7.70056%                7100-000                                              7.90            63,141.94
                                  P.O. Box 75512
                                  Cleveland, OH 44101
          09/26/18     001046     Chagrin Answering Service                      Claim 000056, Payment 7.70169%                7100-000                                           709.68             62,432.26
                                  5241 Wilson Mills Rd., Ste 25
                                  Richmond Heights OH 44143
          09/26/18     001047     SummaCare Inc.                                 Claim 000057, Payment 7.70111%                7100-000                                            48.45             62,383.81
                                  Attn: Legal Dept.
                                  P.O. Box 3620
                                  Akron, OH 44309
          09/26/18     001048     Owner's Management                             Claim 000058, Payment 7.70169%                7100-000                                           456.71             61,927.10
                                  S. Andolsen, Manager
                                  25250 Rockside Road
                                  Bedford Heights OH 44146
          09/26/18     001049     Bainbridge Center Partners LLC                 Claim 000059, Payment 7.70181%                7100-000                                           386.40             61,540.70
                                  Attn: Lawrence H. Oswick
                                  17747 Chillicothe Road, Suite 201
                                  Chagrin Falls OH 44023
          09/26/18     001050     Woodhouse, Justin                              Claim 000063, Payment 7.70172%                7100-000                                       25,685.07              35,855.63
                                  1020 Hillcreek Lane
                                  Gates Mills OH 44040
          09/26/18     001051     Moosally, Allison                              Claim 000064, Payment 7.70172%                7100-000                                       27,111.77               8,743.86
                                  1020 Hillcreek Lane
                                  Gates Mills OH 44040
          09/26/18     001052     Kooken, Ann                                    Claim 000065, Payment 7.70172%                7100-000                                          6,574.75             2,169.11
                                  37775 Flanders Drive
                                  Solon OH 44139

                                                                                                                         Page Subtotals                        0.00              65,915.55
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit 9
  Case No:             15-11415 -AIH                                                                                         Trustee Name:                    DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                      Bank Name:                       BOK Financial
                                                                                                                             Account Number / CD #:           *******6468 Checking Account
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                                Blanket Bond (per case limit):   $ 2,000,000.00
                                                                                                                             Separate Bond (if applicable):


           1              2                               3                                              4                                               5                       6                   7
     Transaction      Check or                                                                                                      Uniform                                                      Account / CD
        Date          Reference               Paid To / Received From                        Description Of Transaction            Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          09/26/18     001053     Mentor Medical Campus Physician                Claim 000067, Payment 7.70171%                    7100-000                                          2,158.20                 10.91
                                  Building LLC
                                  c/o COOPER & FORBES CO., LPA
                                  166 Main Street
                                  Painesville, OH 44077
          09/26/18     001054     UNITED STATES BANKRUPTCY COURT                 REMITTED TO COURT                                                                                     10.91                   0.00
                                  HOWARD M METZENBAUM                            DIVIDENDS REMITTED TO THE COURT
                                  US COURTHOUSE                                  ITEM #   CLAIM #    DIVIDEND
                                  201 SUPERIOR AVENUE                            ==================================
                                  CLEVELAND, OH 44114
                                                                                   38         000038              4.62             7100-001
                                                                                   44         000044              4.42             7100-001
                                                                                   45         000045              0.71             7100-001
                                                                                   93        000062B              1.16             7100-001
 *        01/08/19     001029     Environment Control                            Stop Payment Reversal                             7100-000                                            -39.05                 39.05
                                  1897 East Aurora Road                          STOP PAYMENT
                                  Twinsburg OH 44087
          01/10/19     001055     CLERK U.S. BANKRUPTCY COURT                    UNCLAIMED FUNDS                                   7100-001                                            39.05                   0.00

                                                                                                         COLUMN TOTALS                                   374,390.20              374,390.20                     0.00
                                                                                                             Less: Bank Transfers/CD's                   342,105.81                    0.00
                                                                                                         Subtotal                                         32,284.39              374,390.20
                                                                                                             Less: Payments to Debtors                                                 0.00
                                                                                                         Net
                                                                                                                                                          32,284.39              374,390.20




                                                                                                                             Page Subtotals                        0.00               2,169.11
                                                                                                                                                                                                         Ver: 21.00a
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                        Exhibit 9
  Case No:             15-11415 -AIH                                                                                        Trustee Name:                    DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                     Bank Name:                       BOK Financial
                                                                                                                            Account Number / CD #:           *******4864 Checking
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                               Blanket Bond (per case limit):   $ 2,000,000.00
                                                                                                                            Separate Bond (if applicable):


           1              2                              3                                                   4                                          5                     6                 7
    Transaction       Check or                                                                                                     Uniform                                                  Account / CD
       Date           Reference                Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)       Disbursements ($)      Balance ($)
                                                                                  BALANCE FORWARD                                                                                                         0.00
          03/31/15        4       United Food & Commercial Workers                Account(s) Receivable(s)                        1121-000                    39.95                                      39.95
                                                                                  Member: Amber L. Adolph-Reeves
                                                                                  Patient ID Number 532815UNIV
                                                                                  Claim number 1200402-01
          03/31/15        4       United Food & Commercial Workers                Account(s) Receivable(s)                        1121-000                    39.95                                      79.90
                                                                                  Member: Amber L. Adolph-Reeves
                                                                                  Patient ID Number 532818UNIV
                                                                                  Claim number 1200401-01
          03/31/15        4       Optum Bank                                      Account(s) Receivable(s)                        1121-000                   133.48                                   213.38
                                                                                  John R. Clague
                                                                                  524305
          03/31/15       10       Northwestern Mutual                             Account(s) Receivable(s)                        1229-000                   109.70                                   323.08
                                                                                  Closing refund
                                                                                  Insurance Service Account
                                                                                  Account number 1757330
          03/31/15       10       Northwestern Mutual                             Account(s) Receivable(s)                        1229-000                    83.24                                   406.32
                                                                                  Closing refund
                                                                                  Insurance Service Account
                                                                                  Account number 1557461
          03/31/15        4       Joseph M. Vayda                                 Account(s) Receivable(s)                        1121-000                   155.47                                   561.79
                                  140 Grey Fos Run                                Account Number 533078
                                  Chagrin Falls, OH 44022
          03/31/15        4       Susan Hart                                      Account(s) Receivable(s)                        1121-000                    25.00                                   586.79
                                  686 Mesa Verde Drive                            Account Number 132961
                                  Barberton, OH 44203
          03/31/15        4       Julia and Thomas Euclide                        Account(s) Receivable(s)                        1121-000                    35.00                                   621.79
                                  5241 Rootstown Road                             Shedleski
                                  Ravenna, OH 44266                               #530155
          03/31/15        4       Julia R. Burton                                 Account(s) Receivable(s)                        1121-000                    35.00                                   656.79

                                                                                                                            Page Subtotals                   656.79                  0.00
                                                                                                                                                                                                    Ver: 21.00a
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                        Exhibit 9
  Case No:             15-11415 -AIH                                                                                        Trustee Name:                    DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                     Bank Name:                       BOK Financial
                                                                                                                            Account Number / CD #:           *******4864 Checking
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                               Blanket Bond (per case limit):   $ 2,000,000.00
                                                                                                                            Separate Bond (if applicable):


           1              2                                3                                                 4                                          5                     6                 7
    Transaction       Check or                                                                                                     Uniform                                                  Account / CD
       Date           Reference                Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)       Disbursements ($)      Balance ($)
                                  1134 Meadowlawn Drive                           419-502-8492
                                  Sandusky, OH 44870
          03/31/15        4       Corey and Jacquelyn Roberts                     Account(s) Receivable(s)                        1121-000                    50.00                                   706.79
                                  6700 Farnsworth Drive                           Check number 1682
                                  Parma, OH 4429
          03/31/15        4       Sarah E. Halstead                               Account(s) Receivable(s)                        1121-000                   200.00                                   906.79
                                  20127 Bonnie Bank Blvd.                         Check number 1517
                                  Rocky River, OH 44116
          03/31/15        4       C.A. Yaroma                                     Account(s) Receivable(s)                        1121-000                    45.00                                   951.79
                                  J.M. Yaroma                                     440-734-0393
                                  4583 Parkedge Drive
                                  Fairview Park, OH 44126
          03/31/15        4       Leonard Galvin                                  Account(s) Receivable(s)                        1121-000                    30.00                                   981.79
                                  23943 Noreen Drive                              Co-pay
                                  North Olmsted, OH 44070
          03/31/15       11       United States Treasury                          tax refund                                      1121-000               12,937.24                                  13,919.03
                                                                                  Overpayment of taxes (941)
          03/31/15        1       University Dermatologists, Inc.                 Petty cash                                      1129-000                   513.29                                 14,432.32
          04/01/15        4       Therese E. Lemon                                Account(s) Receivable(s)                        1121-000                   133.08                                 14,565.40
                                  120 Clinton Avenue                              Account number 501420
                                  Akron, OH 44301
          04/01/15        4       Robert Clemente                                 Account(s) Receivable(s)                        1121-000                    90.00                                 14,655.40
                                  8745 Arborhurst Lane                            Account number 74841
                                  Kirtland, OH 44094
          04/06/15       2, 4     Key Bank                                        Account(s) Receivable(s)                        1121-000              352,678.14                              367,333.54
          04/06/15     010001     Twin Towers SPE LLC                             change locks at Westlake                        2420-000                                        144.10        367,189.44
                                  2001 Crocker Road #420
                                  Westlake, OH 44145
          04/07/15        4       Susan Hart                                      Account(s) Receivable(s)                        1121-000                    25.00                             367,214.44
                                  686 Mesa Verde Drive                            Account number 132961

                                                                                                                            Page Subtotals              366,701.75                 144.10
                                                                                                                                                                                                    Ver: 21.00a
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                                                                           ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit 9
  Case No:             15-11415 -AIH                                                                                           Trustee Name:                      DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                        Bank Name:                         BOK Financial
                                                                                                                               Account Number / CD #:             *******4864 Checking
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                                  Blanket Bond (per case limit):     $ 2,000,000.00
                                                                                                                               Separate Bond (if applicable):


           1              2                                3                                                   4                                           5                       6                 7
    Transaction       Check or                                                                                                        Uniform                                                    Account / CD
       Date           Reference                  Paid To / Received From                         Description Of Transaction          Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
                                  Barberton, OH 44203
          04/07/15       10       Pacific Life                                      Insurance premium refund                         1229-000                     79.53                              367,293.97
                                                                                    Proposed insured: Tricia Riemenschneider
                                                                                    Policy number: VF80367170
          04/10/15        4       Cathy J. Gager                                    Account(s) Receivable(s)                         1121-000                     10.00                              367,303.97
                                  Robert J. Gager                                   Account number 527016
                                  555 Oak Hollow Drive
                                  Madison, OH 44057
          04/10/15        4       The J.P. Farley Corporation                       Account(s) Receivable(s)                         1121-000                     13.84                              367,317.81
                                  Gould Electronics                                 Group number 9535000
                                  P.O. Box 458022
                                  Westlake, OH 44145
          04/13/15        4       Susie M. Nagy                                     Account(s) Receivable(s)                         1121-000                     50.00                              367,367.81
                                  P.O. Box 374                                      Account number 520579
                                  Conneaut, OH 44030                                Account balance $2,030
          04/13/15        4       Kenneth R. Schultz                                Account(s) Receivable(s)                         1121-000                   2,798.98                             370,166.79
                                  1591 South Green Rd.                              Account number 104154
                                  South Euclid, OH 44121                            paid in full
                                  330-603-3624
          04/13/15        4       Sharon J. Spencer                                 Account(s) Receivable(s)                         1121-000                     20.54                              370,187.33
                                  12310 Tuscora Avenue                              Account number 503201
                                  Cleveland, OH 44108
          04/15/15        1       UNIVERSITY DERMATOLOGISTS, INC.,                  petty cash                                       1129-000                     29.92                              370,217.25
                                  1611 S. GREEN ROAD, SUITE 146
                                  SOUTH EUCLID, OH 44121
          04/15/15        4       Eric J. Jones                                     Account(s) Receivable(s)                         1121-000                    285.95                              370,503.20
                                  743 Frank Blvd.                                   Account number 118907
                                  Akron, OH 44320-1021
          04/16/15        4       Key Bank                                          Account(s) Receivable(s)                         1121-000               85,000.00                                455,503.20
          04/16/15        4       Joseph A. Crawford                                Account(s) Receivable(s)                         1121-000                    147.00                              455,650.20

                                                                                                                               Page Subtotals               88,435.76                     0.00
                                                                                                                                                                                                         Ver: 21.00a
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                               Exhibit 9
  Case No:             15-11415 -AIH                                                                                                Trustee Name:                    DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                             Bank Name:                       BOK Financial
                                                                                                                                    Account Number / CD #:           *******4864 Checking
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                                       Blanket Bond (per case limit):   $ 2,000,000.00
                                                                                                                                    Separate Bond (if applicable):


           1              2                                 3                                                 4                                                 5                     6                7
    Transaction       Check or                                                                                                             Uniform                                                 Account / CD
       Date           Reference                Paid To / Received From                         Description Of Transaction                 Tran. Code       Deposits ($)       Disbursements ($)     Balance ($)
                                  6770 Rivercrest Drive                           Account number 509016
                                  Brecksville, OH 44141
          04/16/15     010002     InfoShred.Net                                   Bainbridge Storage locker                               2990-000                                        99.70        455,550.50
                                  23800 Corbin Drive
                                  Cleveland, OH 44128
          04/17/15        4       First Federal Credit Control, Inc.              Account(s) Receivable(s)                                1121-000                   724.24                            456,274.74
                                  24700 Chagrin Blvd., #205                       21620 Re-issue 3/25/15
                                  Beachwood, OH 44122
                                  216-360-2000
          04/17/15        4       Clara V. Starks                                 Account(s) Receivable(s)                                1121-000                   165.03                            456,439.77
                                  Bobby W. Starks                                 Account number 125135
                                  2106 W. Nimisila Road
                                  New Franklin, OH 44216
          04/17/15        4       Clara V. Starks                                 Account(s) Receivable(s)                                1121-000                    83.60                            456,523.37
                                  Bobby W. Starks                                 Account number 79990
                                  2106 W. Nimisila Road
                                  New Franklin, OH 44216
          04/17/15        4       Sara K. Brokaw                                  Account(s) Receivable(s)                                1121-000                   175.05                            456,698.42
                                  2709 Hinde Avenue                               Account number 533811
                                  Sandusky, OH 44870
          04/21/15        4       Kathryn T. Joseph                               Account(s) Receivable(s)                                1121-000                   164.88                            456,863.30
                                  3684 Stoer Road                                 Account number 55673
                                  Shaker Hts., OH 44122
          04/21/15        9       Dr. Baud                                        SALE OF BUSINESS                                        1129-000               15,000.00                             471,863.30
                                                                                  Payment for asset numbers 7, 8 and 9 per Agreed
                                                                                  Order
          04/21/15        9       Dr. Ann Kooken                                  SALE OF BUSINESS                                        1129-000               14,166.67                             486,029.97
                                                                                  Payment for asset numbers 7, 8 and 9 per Agreed
                                                                                  Order
          04/21/15        9       Warren Dermatology and                          SALE OF BUSINESS                                        1129-000               15,000.00                             501,029.97

                                                                                                                                    Page Subtotals               45,479.47                 99.70
                                                                                                                                                                                                           Ver: 21.00a
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                                                                                                  FORM 2                                                                                               Page:    13
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                   Exhibit 9
  Case No:             15-11415 -AIH                                                                                                Trustee Name:                      DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                             Bank Name:                         BOK Financial
                                                                                                                                    Account Number / CD #:             *******4864 Checking
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                                       Blanket Bond (per case limit):     $ 2,000,000.00
                                                                                                                                    Separate Bond (if applicable):


           1              2                                3                                                 4                                                  5                       6                  7
    Transaction       Check or                                                                                                             Uniform                                                     Account / CD
       Date           Reference                Paid To / Received From                         Description Of Transaction                 Tran. Code       Deposits ($)         Disbursements ($)       Balance ($)
                                  Allergy Management Corp.                        Payment for asset numbers 7, 8 and 9 per Agreed
                                                                                  Order
          04/21/15        9       Dr. Woodhouse                                   SALE OF BUSINESS                                        1129-000               28,333.33                                 529,363.30
                                                                                  Payment for asset numbers 7, 8 and 9 per Agreed
                                                                                  Order
          04/21/15        9       Warren Dermatology and                          SALE OF BUSINESS                                        1129-000                   2,143.00                              531,506.30
                                  Allergy Management Corp.                        Payment for asset numbers 7, 8 and 9 per Agreed
                                                                                  Order
          04/21/15     010003     Direct Capital Corporation                                                                              4210-000                                      56,000.00          475,506.30
          04/21/15     010004     Keystone Technology Consultants                                                                         4210-000                                          3,500.00       472,006.30
          04/22/15     010005     West Coast Dermatology Billers                                                                          3991-000                                      47,709.75          424,296.55
          04/23/15       12       American Express                                refund                                                  1229-000                     62.68                               424,359.23
          04/27/15     010006     Kathy Hitchcock                                 records processing                                      2990-000                                           128.00        424,231.23
          04/27/15     010007     University Suburban Health Center                                                                       2420-000                                           979.17        423,252.06
                                  1611 S. Gren Rd., Ste. A61
                                  South Euclid, OH 44121
          04/28/15        4       First Federal Credit Control                    Account(s) Receivable(s)                                1121-000                   1,115.07                              424,367.13
                                                                                  4/1/15 through 4/24/15 accounts paid
                                                                                  Account number 21620-1
          04/28/15        4       Kimberly Sarver                                 Account(s) Receivable(s)                                1121-000                     35.00                               424,402.13
                                  7209 Grovedell St., SE                          Account number 529734
                                  Waynesburg, OH 44688
          04/28/15        4       Irwin B. Jacobs                                 Account(s) Receivable(s)                                1121-000                    149.93                               424,552.06
                                  125 Greentree Road                              Account number 533990
                                  Chagrin Falls, OH 44022
          04/30/15                Bank of Kansas City                             BANK SERVICE FEE                                        2600-000                                           521.01        424,031.05
          05/05/15        4       Susan Hart                                      Account(s) Receivable(s)                                1121-000                     25.00                               424,056.05
                                  686 Mesa Verde Drive                            Account number 132961
                                  Barberton, OH 44203


                                                                                                                                    Page Subtotals               31,864.01              108,837.93
                                                                                                                                                                                                               Ver: 21.00a
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                Exhibit 9
  Case No:             15-11415 -AIH                                                                                           Trustee Name:                      DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                        Bank Name:                         BOK Financial
                                                                                                                               Account Number / CD #:             *******4864 Checking
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                                  Blanket Bond (per case limit):     $ 2,000,000.00
                                                                                                                               Separate Bond (if applicable):


           1              2                               3                                                   4                                            5                       6                   7
    Transaction       Check or                                                                                                        Uniform                                                      Account / CD
       Date           Reference               Paid To / Received From                             Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)
          05/05/15        4       Matthew D. Clemens                             Account(s) Receivable(s)                            1121-000                   1,000.00                               425,056.05
                                  31699 Trilluim Trail                           Account number 533175
                                  Pepper Pike, OH 44124
          05/05/15        4       John R. Clague                                 Account(s) Receivable(s)                            1121-000                    133.48                                425,189.53
                                                                                 Account number 524305
          05/05/15        4       Mark H. Dennis                                 Account(s) Receivable(s)                            1121-000                     43.69                                425,233.22
                                  Tereasa A. Dennis                              Patient name: Mary K. Williams
                                  566 High Grove Blvd.                           Account number 531770
                                  Akron, OH 44312
          05/05/15        4       Elizabeth Tone                                 Account(s) Receivable(s)                            1121-000                     50.00                                425,283.22
                                  16511 Jordan Gardner Oval                      Account number 7919
                                  Chagrin Falls, OH 44023
          05/05/15        4       Susan L. Pezzotti                              Account(s) Receivable(s)                            1121-000                     69.15                                425,352.37
                                  3893 Golden Wood Way                           Account number 509397
                                  Uniontown, OH 44685
          05/05/15     010008     Bk Attorney Services LLC                       patient notice                                      2990-000                                      30,651.26           394,701.11
          05/05/15     010009     West Coast Dermatology Billers                 April 2015                                          2990-000                                      15,209.73           379,491.38
          05/06/15     010010     Kathy Hitchcock                                records processing                                  2990-000                                           128.00         379,363.38
                                  5777 Som Center Rd.
                                  Willoughby, OH 44094
          05/07/15        4       Key Bank                                       Account(s) Receivable(s)                            1121-000               93,000.00                                  472,363.38
          05/07/15        4       Thomas Sovich                                  Account(s) Receivable(s)                            1121-000                     95.76                                472,459.14
                                                                                 Account number 519691
          05/07/15        4       Donald R. Schermer, M.D.                       Account(s) Receivable(s)                            1121-000                     86.09                                472,545.23
                                  Steven J. Taub, M.D.                           For December, 2014 and January, 2015
          05/12/15     010011     Keystone Technology Consultants                                                                    2990-000                                           350.00         472,195.23
          05/12/15     010012     Keystone Technology Consultants                                                                    2990-000                                          3,500.00        468,695.23
          05/14/15        4       D Gene Beckett                                 Account(s) Receivable(s)                            1121-000                     35.86                                468,731.09
                                  662 Meredith Lane                              Account number 528886


                                                                                                                               Page Subtotals               94,514.03                  49,838.99
                                                                                                                                                                                                           Ver: 21.00a
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit 9
  Case No:             15-11415 -AIH                                                                                         Trustee Name:                      DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                      Bank Name:                         BOK Financial
                                                                                                                             Account Number / CD #:             *******4864 Checking
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                                Blanket Bond (per case limit):     $ 2,000,000.00
                                                                                                                             Separate Bond (if applicable):


           1              2                                3                                                 4                                           5                       6                 7
    Transaction       Check or                                                                                                      Uniform                                                    Account / CD
       Date           Reference                Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
                                  Cuyahoga Falls, OH 44223
          05/14/15        4       Jonathan A. Vandertill                          Account(s) Receivable(s)                         1121-000                     74.81                              468,805.90
                                                                                  Account number 534246
          05/15/15        4       Henry C. Johnson, II                            Account(s) Receivable(s)                         1121-000                     48.23                              468,854.13
                                  2223 Green Road                                 Account number 526680
                                  Cleveland, OH 44121
          05/18/15        4       Edman Claire (Erick)                            Account(s) Receivable(s)                         1121-000                     44.81                              468,898.94
                                                                                  Account number 534549
          05/21/15        4       Mr. & Mrs. Paul A. Nachtwey                     Account(s) Receivable(s)                         1121-000                    296.38                              469,195.32
                                  527 Manorbrook Drive                            Account number 156049
                                  Chagrin Falls. OH 44022
          05/21/15       13       State Auto Insurance Companies                  refund of insurance premium                      1229-000                    296.00                              469,491.32
          05/21/15       13       State Auto Insurance Companies                  refund of insurance premium                      1229-000                   2,522.00                             472,013.32
          05/26/15       14       State of Florida                                fee for medical records                          1229-000                     14.00                              472,027.32
          05/26/15        4       First Federal Credit Control                    Account(s) Receivable(s)                         1121-000                    230.29                              472,257.61
                                                                                  Accounts paid in May, 2015
          05/26/15       11       United States Treasury                          tax refund                                       1224-000                    783.92                              473,041.53
          05/27/15       13       ProAssurance Indeminity Company, Inc.           refund of premium                                1229-000               19,239.00                                492,280.53
          05/27/15        4       Gail Leach                                      Account(s) Receivable(s)                         1121-000                     62.51                              492,343.04
                                                                                  Account number 106162 365423-0057
          05/27/15        4       Gail Leach                                      Account(s) Receivable(s)                         1121-000                     62.51                              492,405.55
                                                                                  Account number 106162 365423-0056
          05/27/15        4       Gail Leach                                      Account(s) Receivable(s)                         1121-000                     62.51                              492,468.06
                                                                                  Account number 106162 365423-0054
          05/27/15        4       Robert and Cathy Gager                          Account(s) Receivable(s)                         1121-000                     10.00                              492,478.06
                                  555 Oak Hollow Drive                            Account number 527016
                                  Madison, OH 44057
          05/27/15        4       Henry C. Johnson, II                            Account(s) Receivable(s)                         1121-000                     47.85                              492,525.91
                                  2223 Green Road                                 Account number 526680


                                                                                                                             Page Subtotals               23,794.82                     0.00
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                             Exhibit 9
  Case No:             15-11415 -AIH                                                                                         Trustee Name:                      DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                      Bank Name:                         BOK Financial
                                                                                                                             Account Number / CD #:             *******4864 Checking
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                                Blanket Bond (per case limit):     $ 2,000,000.00
                                                                                                                             Separate Bond (if applicable):


           1              2                               3                                                  4                                           5                       6                   7
    Transaction       Check or                                                                                                      Uniform                                                      Account / CD
       Date           Reference                Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)
                                  Cleveland, OH 44121
          05/27/15     010013     Paycor                                          payroll service                                  2990-000                                           820.02         491,705.89
                                  4811 Montgomery Road
                                  Cincinnati, OH 45212
          05/29/15        4       Key Bank                                        Account(s) Receivable(s)                         1121-000               70,000.00                                  561,705.89
          05/29/15                Bank of Kansas City                             BANK SERVICE FEE                                 2600-000                                           705.71         561,000.18
          06/02/15        4       Karl J. Wendel                                  Account(s) Receivable(s)                         1121-000                     40.00                                561,040.18
                                  8825 Arrowood Ct                                Account number 133144
                                  Mentor, OH 44060
          06/02/15        4       Susan Hart                                      Account(s) Receivable(s)                         1121-000                     25.00                                561,065.18
                                  686 Mesa Verde Drive                            Account number 132961
                                  Barberton, OH 44203
          06/02/15     010014     West Coast Dermatology Billers                                                                   2990-000                                          8,469.51        552,595.67
          06/04/15        4       Susie M. Nagy                                   Account(s) Receivable(s)                         1121-000                     50.00                                552,645.67
                                  P.O. Box 374                                    Account number 248614
                                  Conneaut, OH 44030
          06/09/15       14       Elk & Elk                                       Copies                                           1229-000                     14.00                                552,659.67
                                                                                  Records provided for Roberta Passe
          06/09/15       11       State of Ohio Taxation Department               Refund of sales and use tax                      1224-000                   4,513.72                               557,173.39
          06/10/15        4       Susie M. Nagy                                   Account(s) Receivable(s)                         1121-000                     50.00                                557,223.39
                                  P.O. Box 374                                    Account number 520579
                                  Conneaut, OH 44030
          06/10/15        4       HealthSmart Benefit Solutions, Inc.             Account(s) Receivable(s)                         1121-000                    163.27                                557,386.66
                                  on behalf of Marti Nieman                       Marti Nieman
                                                                                  Account number 521172
          06/15/15        4       Byron G. Hays                                   Account(s) Receivable(s)                         1121-000                     40.80                                557,427.46
                                  Elizabeth A. Hays                               Account number 185844
                                  16871 Catsden Road
                                  Chagrin Falls, OH 44023


                                                                                                                             Page Subtotals               74,896.79                   9,995.24
                                                                                                                                                                                                         Ver: 21.00a
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit 9
  Case No:             15-11415 -AIH                                                                                       Trustee Name:                    DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                    Bank Name:                       BOK Financial
                                                                                                                           Account Number / CD #:           *******4864 Checking
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                              Blanket Bond (per case limit):   $ 2,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1              2                                3                                                4                                          5                       6                  7
    Transaction       Check or                                                                                                    Uniform                                                     Account / CD
       Date           Reference               Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
          06/15/15        4       Laura L. Madden                                Account(s) Receivable(s)                        1121-000                   133.36                                557,560.82
                                  4 E. 221st Street                              Account number 158675
                                  Euclid, OH 44123
          06/16/15        4       Sharon K. Nestor                               Account(s) Receivable(s)                        1121-000                    62.85                                557,623.67
                                  David L. Nestor                                Account number 79458
                                  2793 Vincent Drive
                                  Norton, OH 44203
          06/16/15        4       George F. Bailey, Jr.                          Account(s) Receivable(s)                        1121-000                   110.64                                557,734.31
                                  88 East Shore Blvd.                            Account number 94822
                                  Timberlake, OH 44096
          06/16/15        4       Marie Harvey                                   Account(s) Receivable(s)                        1121-000                    71.77                                557,806.08
                                  1140 Winchell Road                             Account number 505882
                                  Aurora, OH 44202
          06/16/15        4       Alan G. Lipson                                 Account(s) Receivable(s)                        1121-000                    20.25                                557,826.33
                                  30751 Ainsworth Drive                          Account number 147081
                                  Pepper Pike, OH 44124
          06/16/15        4       Mark and Emily Holiday                         Account(s) Receivable(s)                        1121-000                        8.63                             557,834.96
                                  2223 W. Bath Road                              Account number 518801
                                  Akron, OH 44333
          06/16/15        4       Amy and John Marzich                           Account(s) Receivable(s)                        1121-000                    14.96                                557,849.92
                                  2993 Benjamin Drive                            Account number 107627
                                  Brunswick, OH 44212
          06/16/15        4       D. Jeffrey Cass                                Account(s) Receivable(s)                        1121-000                    48.17                                557,898.09
                                  220 Ry Road                                    Account number 189058
                                  Wadsworth, OH 44281
          06/16/15        4       Fred and Victoria Curran                       Account(s) Receivable(s)                        1121-000                    40.00                                557,938.09
                                  484 Circle Drive                               Account number 533161
                                  Doylestown, OH 44230
                                                                                 On behalf of Dora Williams
          06/16/15        4       Ralph and Anita Lukich                         Account(s) Receivable(s)                        1121-000                    40.00                                557,978.09

                                                                                                                           Page Subtotals                   550.63                     0.00
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                             Exhibit 9
  Case No:             15-11415 -AIH                                                                                        Trustee Name:                      DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                     Bank Name:                         BOK Financial
                                                                                                                            Account Number / CD #:             *******4864 Checking
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                               Blanket Bond (per case limit):     $ 2,000,000.00
                                                                                                                            Separate Bond (if applicable):


           1              2                                3                                                4                                           5                       6                   7
    Transaction       Check or                                                                                                     Uniform                                                      Account / CD
       Date           Reference               Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                  6090 Middlebrook Blvd.                         Account number 530821
                                  Brook Park, OH 44142
          06/16/15        4       Michael and Susan Lee                          Account(s) Receivable(s)                         1121-000                   1,215.14                               559,193.23
                                  3493 Southern Road                             Account number 58557
                                  Richfield, OH 44286
          06/16/15        4       Rozelle E. Atkins                              Account(s) Receivable(s)                         1121-000                     14.37                                559,207.60
                                  2202 Acacia Park Dr., Apt. 2702                Account number 85655
                                  Lyndhurst, OH 44124
          06/16/15        4       Laura J. Albaugh                               Account(s) Receivable(s)                         1121-000                     40.00                                559,247.60
                                  Jeffrey L. Albaugh                             Account number 167250
                                  97 Southwick Drive
                                  Bedford, OH 44146
          06/16/15        4       Thomas F. Cochran                              Account(s) Receivable(s)                         1121-000                     40.00                                559,287.60
                                  Margaret M. Cochran                            Account number 126875
                                  1165 Dorset Ct.
                                  Aurora, OH 44202
          06/17/15     010015     Akron General Medical Center                   administrative rent                              2410-000                                          7,500.00        551,787.60
          06/18/15        4       Deborah S. Sedgwick                            Account(s) Receivable(s)                         1121-000                     77.00                                551,864.60
                                  8221 Lanmark Drive                             Account number 57791
                                  Mentor, OH 44060
          06/18/15        4       Michael G. Hardy                               Account(s) Receivable(s)                         1121-000                     80.00                                551,944.60
                                  7430 Brenel Drive                              Account number 129014
                                  Mentor, OH 44060
          06/18/15        4       Lawrence J. Nichta                             Account(s) Receivable(s)                         1121-000                        5.00                              551,949.60
                                  4395 Ammon Road                                Account number 8453
                                  Cleveland, OH 44143
          06/18/15        4       Shira S. Toister                               Account(s) Receivable(s)                         1121-000                     25.31                                551,974.91
                                  4711 Rosita Pl.                                Account number 533529
                                  Tarzana, CA 91356
          06/18/15        4       Jeffrey A. Lown                                Account(s) Receivable(s)                         1121-000                    162.85                                552,137.76

                                                                                                                            Page Subtotals                   1,659.67                7,500.00
                                                                                                                                                                                                        Ver: 21.00a
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                            Exhibit 9
  Case No:             15-11415 -AIH                                                                                       Trustee Name:                    DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                    Bank Name:                       BOK Financial
                                                                                                                           Account Number / CD #:           *******4864 Checking
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                              Blanket Bond (per case limit):   $ 2,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1              2                               3                                                 4                                          5                       6                   7
     Transaction      Check or                                                                                                    Uniform                                                      Account / CD
        Date          Reference               Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                  1595 Pear Pl.                                  Account number 501925
                                  Mansfield, OH 44905
 *        06/18/15                Mr. & Mrs. Rod G. Dulaney                      Account(s) Receivable(s)                        1121-000                   153.30                                 552,291.06
                                  2433 Remsen Road                               Account number 180703
                                  Medina, OH 44256
          06/18/15        4       Mr. & Mrs. John King                           Account(s) Receivable(s)                        1121-000                        7.49                              552,298.55
                                  for Lyndsey King                               Account number 533525
                                  3092 Givens Ct.
                                  Perry, OH 44081
          06/18/15        4       Stephen Rice                                   Account(s) Receivable(s)                        1121-000                   142.97                                 552,441.52
                                  3325 Chalfant Road                             Account number 534436
                                  Shaker Hts., OH 44120
          06/18/15        4       Christopher Casey                              Account(s) Receivable(s)                        1121-000                    19.62                                 552,461.14
                                  4901 Tuxedo Avenue                             Account number 526811
                                  Parma, OH 44134
          06/18/15        4       Nestor W. Shust                                Account(s) Receivable(s)                        1121-000                    14.12                                 552,475.26
                                  4616 Granger Road                              Account number 512311
                                  Fairlawn, OH 44333
 *        06/18/15     010016     Keystone Technology Consultants                                                                2990-000                                          3,500.00        548,975.26
                                  Attn: Billing
                                  4125 Medina Road, Ste. 200A
                                  Akron, OH 44333
          06/18/15     010017     Carolyn Sweeney                                refund due to overpayment                       8500-000                                           102.76         548,872.50
                                  1285 Charter Oak Ln.
                                  Westlake, OH 44145
          06/23/15        4       Kelly B. Sherwin                               Account(s) Receivable(s)                        1121-000                    81.20                                 548,953.70
                                  13901 Shaker Blvd., Apt. 5B                    Account number 178090
                                  Cleveland, OH 44120
          06/23/15        4       James and Kym Skerl                            Account(s) Receivable(s)                        1121-000                    42.94                                 548,996.64
                                  2064 S. Belvoir Blvd.                          Account number 110144

                                                                                                                           Page Subtotals                   461.64                  3,602.76
                                                                                                                                                                                                       Ver: 21.00a
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                                                                                                 FORM 2                                                                                      Page:    20
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                          Exhibit 9
  Case No:             15-11415 -AIH                                                                                       Trustee Name:                      DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                    Bank Name:                         BOK Financial
                                                                                                                           Account Number / CD #:             *******4864 Checking
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                              Blanket Bond (per case limit):     $ 2,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1              2                                 3                                               4                                          5                       6                 7
    Transaction       Check or                                                                                                    Uniform                                                    Account / CD
       Date           Reference               Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
                                  Cleveland, OH 44121
          06/23/15        4       Gerald and Kathleen Apel                       Account(s) Receivable(s)                        1121-000                    182.08                              549,178.72
                                  P.O. Box 6                                     Account numbers 510006 and 509259
                                  Newton Falls, OH 44444
          06/23/15        4       Li and James Swain                             Account(s) Receivable(s)                        1121-000                     64.19                              549,242.91
                                  5080 Boulder Creek Dr.                         Account number 176647
                                  Solon, OH 44139
          06/23/15        4       Kevin Allen                                    Account(s) Receivable(s)                        1121-000                    258.27                              549,501.18
                                  582 Red Rock Drive                             Account number 534099
                                  Wadsworth, OH 44281
          06/23/15        4       Jeffrey Eier                                   Account(s) Receivable(s)                        1121-000                     43.17                              549,544.35
                                  1205 Buckingham St.                            Account number 527972
                                  Sandusky, OH 44870
          06/23/15        4       William J. Schmitt                             Account(s) Receivable(s)                        1121-000                   2,468.57                             552,012.92
                                  7336 Roswell Rd., SW                           Account number 534214
                                  Sherrodsville, OH 44675
          06/23/15        4       Bobara Pastor                                  Account(s) Receivable(s)                        1121-000                     39.64                              552,052.56
                                  30825 Cannon Road                              Account number 22251
                                  Solon, OH 44139
          06/23/15        4       Lora Temple                                    Account(s) Receivable(s)                        1121-000                     25.00                              552,077.56
                                  700 Shaker Drive                               Account number 532816
                                  Medina, OH 44256
          06/23/15        4       Mengrong Zou                                   Account(s) Receivable(s)                        1121-000                    193.81                              552,271.37
                                  704 5th St., Apt. 10                           Account number 533482
                                  Bowling Green, OH 43402
          06/23/15        4       Linda S. Wilkinson                             Account(s) Receivable(s)                        1121-000                     20.00                              552,291.37
                                  1286 Yellowstone Road                          Account number 52934
                                  Cleveland Hts., OH 44121
          06/23/15        4       Karl J. Wendel                                 Account(s) Receivable(s)                        1121-000                     40.00                              552,331.37
                                  8825 Arrowood Ct.                              Account number 133144

                                                                                                                           Page Subtotals                   3,334.73                  0.00
                                                                                                                                                                                                     Ver: 21.00a
LFORM24
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                                                                                                  FORM 2                                                                                       Page:    21
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit 9
  Case No:             15-11415 -AIH                                                                                           Trustee Name:                    DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                        Bank Name:                       BOK Financial
                                                                                                                               Account Number / CD #:           *******4864 Checking
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                                  Blanket Bond (per case limit):   $ 2,000,000.00
                                                                                                                               Separate Bond (if applicable):


           1              2                                3                                                 4                                             5                     6                 7
    Transaction       Check or                                                                                                        Uniform                                                  Account / CD
       Date           Reference                Paid To / Received From                         Description Of Transaction            Tran. Code       Deposits ($)       Disbursements ($)      Balance ($)
                                  Mentor, OH 44060
          06/23/15        4       Robert and Faith Suydam                         Account(s) Receivable(s)                           1121-000                    22.72                             552,354.09
                                  7973 Center St.                                 Account number 77224
                                  Mentor, OH 44060
          06/23/15        4       Marco and Erica Costa                           Account(s) Receivable(s)                           1121-000                    40.00                             552,394.09
                                  22885 Canterbury Lane                           Account number 530481
                                  Shaker Hts., OH 44122
          06/23/15        4       Charles and Rosemary Merchant                   Account(s) Receivable(s)                           1121-000                    12.35                             552,406.44
                                  311 E. Stonebrooke Ct.                          Account number 5375
                                  Chagrin Falls, OH 44022
          06/23/15        4       Jamie and Wendy Cohen                           Account(s) Receivable(s)                           1121-000                   243.04                             552,649.48
                                  32231 Meadow Lark Way                           Account number 165438
                                  Pepper Pike, OH 44124
          06/24/15        4       Key Bank                                        Account(s) Receivable(s)                           1121-000               48,000.00                              600,649.48
          06/24/15        4       Barbara Torrey                                  Account(s) Receivable(s)                           1121-000                    16.45                             600,665.93
                                  17604 East Brook Trail                          Account number 129824
                                  Chagrin Falls, OH 44023
          06/24/15        4       Rebecca Truden                                  Account(s) Receivable(s)                           1121-000                    46.13                             600,712.06
                                  2481 Arlington Road                             Account number 130
                                  Cleveland Hts., OH 44118
          06/24/15        4       Kevin Rabie                                     Account(s) Receivable(s)                           1121-000                    67.05                             600,779.11
                                  5932 Stumph Road, Apt. 321                      Account number 502370
                                  Parma, OH 44130
          06/24/15        4       First Federal Credit Control                    Account(s) Receivable(s)                           1121-000                   881.93                             601,661.04
                                                                                  Funds paid for June, 2015 reporting period
          06/26/15        4       Linda M. Lovell                                 Account(s) Receivable(s)                           1121-000                   383.96                             602,045.00
                                  2442 Sunnybrook Road                            Account number 529700
                                  Mogadore, OH 44260                              On behalf of Robert Toth
          06/26/15        4       Philip Bomeisl                                  Account(s) Receivable(s)                           1121-000                    30.00                             602,075.00
                                  3965 North Pointe Dr.                           Account number 93840

                                                                                                                               Page Subtotals               49,743.63                   0.00
                                                                                                                                                                                                       Ver: 21.00a
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                                                                                                 FORM 2                                                                                      Page:    22
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                          Exhibit 9
  Case No:             15-11415 -AIH                                                                                       Trustee Name:                      DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                    Bank Name:                         BOK Financial
                                                                                                                           Account Number / CD #:             *******4864 Checking
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                              Blanket Bond (per case limit):     $ 2,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1              2                               3                                                 4                                          5                       6                 7
    Transaction       Check or                                                                                                    Uniform                                                    Account / CD
       Date           Reference               Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
                                  Pepper Pike, OH 44124
          06/26/15        4       Charles Daroff                                 Account(s) Receivable(s)                        1121-000                    142.33                              602,217.33
                                  Abigail Daroff                                 Account number 132983
                                  2493 Ginger Wren Road
                                  Pepper Pike, OH 44124
          06/26/15        4       Michael Buchheit                               Account(s) Receivable(s)                        1121-000                     34.29                              602,251.62
                                  Ann M. Buchheit                                Account number 105321
                                  2636 Edgehill Road
                                  Cleveland Hts., OH 44106
          06/29/15        4       Matthew D. Clemens                             Account(s) Receivable(s)                        1121-000                    500.00                              602,751.62
                                  31699 Trilluim Trl                             Account number 533175
                                  Pepper Pike, OH 44124
          06/29/15        4       Brian Wolovitz                                 Account(s) Receivable(s)                        1121-000                     45.77                              602,797.39
                                  3733 Severn Road                               Account number 533297
                                  Cleveland Hts., OH 44118
          06/29/15        4       Marty L. Schonberger, Jr.                      Account(s) Receivable(s)                        1121-000                     26.84                              602,824.23
                                  11205 Hidden Springs Dr.                       Account number 48468
                                  Munson, OH 44024
          06/29/15        4       Edward J. Kerr                                 Account(s) Receivable(s)                        1121-000                    128.61                              602,952.84
                                  4098 E. Smith Road                             Account number 532933
                                  Medina, OH 44256
          06/29/15        4       Marie McConnell                                Account(s) Receivable(s)                        1121-000                     41.61                              602,994.45
                                  821 Orchardview Ave.                           Account number 529564
                                  Seven Hills, OH 44131
          06/29/15        4       Lonnie or Ginger Dittrick                      Account(s) Receivable(s)                        1121-000                    112.51                              603,106.96
                                  10229 Mitchell Road                            Account number 164536
                                  Columbia Station, OH 44028
          06/29/15        4       John A. Yirga                                  Account(s) Receivable(s)                        1121-000                    911.82                              604,018.78
                                  1156 Hillcreek Lane                            Account number 157891
                                  Gates Mills, OH 44040

                                                                                                                           Page Subtotals                   1,943.78                  0.00
                                                                                                                                                                                                     Ver: 21.00a
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit 9
  Case No:             15-11415 -AIH                                                                                            Trustee Name:                     DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                         Bank Name:                        BOK Financial
                                                                                                                                Account Number / CD #:            *******4864 Checking
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                                   Blanket Bond (per case limit):    $ 2,000,000.00
                                                                                                                                Separate Bond (if applicable):


           1              2                                3                                                4                                               5                      6                 7
     Transaction      Check or                                                                                                         Uniform                                                   Account / CD
        Date          Reference               Paid To / Received From                         Description Of Transaction              Tran. Code       Deposits ($)        Disbursements ($)      Balance ($)
 *        06/30/15                Mr. & Mrs. Rod G. Dulaney                      Account(s) Receivable(s)                               1121-000                 -153.30                             603,865.48
                                  2433 Remsen Road                               Patient paid twice. Therefore, she stopped pay on this
                                  Medina, OH 44256                               check.
          06/30/15                Bank of Kansas City                            BANK SERVICE FEE                                     2600-000                                         820.09        603,045.39
          07/08/15        4       Michelle Mullett                               Account(s) Receivable(s)                             1121-000                    31.01                              603,076.40
                                  9050 Mayfield Rd.                              Account number 104848
                                  Chesterland, OH 44026
          07/08/15        4       Donald Cooper                                  Account(s) Receivable(s)                             1121-000                   120.35                              603,196.75
                                  456 Middlestone Way                            Account number 519912
                                  Cuyahoga Falls, OH 44223
          07/08/15        4       Susan Hart                                     Account(s) Receivable(s)                             1121-000                    25.00                              603,221.75
                                  686 Mesa Verde Dr.                             Account number 132961
                                  Barberton, OH 44203
          07/08/15        4       Jordan Samsonas                                Account(s) Receivable(s)                             1121-000                   247.84                              603,469.59
                                  9830 Broadway Dr.                              Account number 179993
                                  Chagrin Falls, OH 44023
          07/08/15        4       Michael and Ceceile Birchler                   Account(s) Receivable(s)                             1121-000                    54.66                              603,524.25
                                  29021 Weybridge Dr.                            Account number 88300
                                  Westlake, OH 44145
          07/08/15        4       Robert and Mary Walters                        Account(s) Receivable(s)                             1121-000                   169.63                              603,693.88
                                  28536 Knickerbocker Rd.                        Account number 179564
                                  Bay Village, OH 44140
          07/08/15        4       Philip Seibel                                  Account(s) Receivable(s)                             1121-000                    20.00                              603,713.88
                                  P.O. Box 9215                                  Account number 67382
                                  Canton, OH 44711
          07/08/15        4       Gary Bolinger                                  Account(s) Receivable(s)                             1121-000                    25.00                              603,738.88
                                  4615 Wilburn Dr.                               Account number 147476
                                  South Euclid, OH 44121
          07/08/15        4       Richard Kizys                                  Account(s) Receivable(s)                             1121-000                    78.42                              603,817.30
                                  6115 Creekhaven Dr., Apt. 7                    Account number 169473

                                                                                                                                Page Subtotals                   618.61                 820.09
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                                      15-11415-aih               Doc 282    FILED 03/08/19           ENTERED 03/08/19 13:51:02                          Page 42 of 72
                                                                                                   FORM 2                                                                                      Page:    24
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                            Exhibit 9
  Case No:             15-11415 -AIH                                                                                       Trustee Name:                      DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                    Bank Name:                         BOK Financial
                                                                                                                           Account Number / CD #:             *******4864 Checking
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                              Blanket Bond (per case limit):     $ 2,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1              2                               3                                                 4                                          5                       6                   7
    Transaction       Check or                                                                                                    Uniform                                                      Account / CD
       Date           Reference               Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)
                                  Parma Hts., OH 44130
          07/08/15        4       John and Donna Shepherd                        Account(s) Receivable(s)                        1121-000                    161.92                                603,979.22
                                  2325 Maylo Path                                Account number 531034
                                  Akron, OH 44312
          07/08/15        4       James Strasser                                 Account(s) Receivable(s)                        1121-000                     87.97                                604,067.19
                                  2591 Robindale Ave.                            Account number 188323
                                  Akron, OH 44312
          07/08/15        4       Robin G. Freedman                              Account(s) Receivable(s)                        1121-000                    175.55                                604,242.74
                                  295 Brookrun Drive                             Account number 505970
                                  Copley, OH 44321                               On behalf of Adam Salzman
          07/08/15        4       Kimberly Rousch                                Account(s) Receivable(s)                        1121-000                     80.45                                604,323.19
                                  3180 Narrows Road                              Account number 133548
                                  Perry, OH 44081
          07/09/15        4       Chris W. Staats                                Account(s) Receivable(s)                        1121-000                     82.60                                604,405.79
                                  Optum Bank Direct Pay                          Account number 527895
          07/09/15        4       David Riccio                                   Account(s) Receivable(s)                        1121-000                    108.75                                604,514.54
                                  7555 Ferguson Rd.                              Account number 126484
                                  Kent, OH 44240
          07/09/15       15       PSKW, LLC                                      rebate                                          1229-000                    203.61                                604,718.15
                                  1 Crossroads Drive
                                  3rd Floor
                                  Bedminster, NJ 07921
          07/10/15        4       Richard Rowley                                 Account(s) Receivable(s)                        1121-000                    138.42                                604,856.57
                                  624-2 Russett Woods Lane                       Account number 530189
                                  Aurora, OH 44202
          07/10/15        4       Jonathan C. Hatch                              Account(s) Receivable(s)                        1121-000                     81.20                                604,937.77
                                  on behalf of Karry Hatch                       Account number 165054
                                  2854 East Overlook Road                        on behalf of Karry Hatch
                                  Cleveland Hts., OH 44118
          07/13/15     010018     West Coast Dermatology Billers                 billing company                                 2990-000                                          5,003.08        599,934.69

                                                                                                                           Page Subtotals                   1,120.47                5,003.08
                                                                                                                                                                                                       Ver: 21.00a
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                                                                                                 FORM 2                                                                                         Page:    25
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                             Exhibit 9
  Case No:             15-11415 -AIH                                                                                       Trustee Name:                      DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                    Bank Name:                         BOK Financial
                                                                                                                           Account Number / CD #:             *******4864 Checking
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                              Blanket Bond (per case limit):     $ 2,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1              2                                3                                                4                                          5                       6                    7
     Transaction      Check or                                                                                                    Uniform                                                       Account / CD
        Date          Reference               Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)         Balance ($)
          07/14/15        4       Jamal Kassir                                   Account(s) Receivable(s)                        1121-000                     15.48                                 599,950.17
                                  7026 Yinger St.                                Account number 531665
                                  Dearborn, MI 48126
          07/14/15        4       Diana J. Watson                                Account(s) Receivable(s)                        1121-000                     40.00                                 599,990.17
                                  803 N. Ridge Rd., W                            Account number 76857
                                  Lorain, OH 44053
          07/14/15        4       Bradley Horning                                Account(s) Receivable(s)                        1121-000                    710.16                                 600,700.33
                                  467 Heimbaugh Road                             Account number 515022
                                  Mogadore, OH 44260
          07/14/15        4       Leslie Holz                                    Account(s) Receivable(s)                        1121-000                     19.64                                 600,719.97
                                  25318 Cardington Drive                         Account number 178121
                                  Beachwood, OH 44122
          07/14/15        4       Ronald and Cymthia Ducca                       Account(s) Receivable(s)                        1121-000                     39.64                                 600,759.61
                                  on behalf of Ethan Ducca                       No account number provided
                                  11540 Blue Teron Trail                         On behalf of Ethan Ducca
                                  Chardon, OH 44024                              Treating doctor was Dr. Kassouf
          07/15/15        4       Susie M. Nagy                                  Account(s) Receivable(s)                        1121-000                     50.00                                 600,809.61
                                  P.O. Box 374                                   Account number 248614
                                  Conneaut, OH 44030
          07/20/15        4       Judy N. Boyce                                  Account(s) Receivable(s)                        1121-000                     95.00                                 600,904.61
                                  4401 W. Anderson Road                          Account number 11035
                                  South Euclid, OH 44121
          07/20/15        4       Sarah Klinger                                  Account(s) Receivable(s)                        1121-000                     18.48                                 600,923.09
                                  766 Diandrea Dr.                               Account number 104062
                                  Akron, OH 44333
          07/20/15        4       Vivek Dason                                    Account(s) Receivable(s)                        1121-000                     30.33                                 600,953.42
                                  1783 McClure Road                              Account number 522918
                                  Monroeville, PA 15146
 *        07/20/15     010016     Keystone Technology Consultants                Stop Payment Reversal                           2990-000                                          -3,500.00        604,453.42
                                  Attn: Billing                                  STOP PAYMENT

                                                                                                                           Page Subtotals                   1,018.73                -3,500.00
                                                                                                                                                                                                        Ver: 21.00a
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                             Exhibit 9
  Case No:             15-11415 -AIH                                                                                         Trustee Name:                      DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                      Bank Name:                         BOK Financial
                                                                                                                             Account Number / CD #:             *******4864 Checking
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                                Blanket Bond (per case limit):     $ 2,000,000.00
                                                                                                                             Separate Bond (if applicable):


           1              2                                 3                                                4                                           5                       6                   7
    Transaction       Check or                                                                                                      Uniform                                                      Account / CD
       Date           Reference                Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                  4125 Medina Road, Ste. 200A
                                  Akron, OH 44333
          07/20/15     010019     Keystone Technology Consultants                 Replaces the June check                          2990-000                                          3,500.00        600,953.42
                                  787 Wye Rd
                                  Akron, OH 44333
          07/27/15        4       Susan Hart                                      Account(s) Receivable(s)                         1121-000                     25.00                                600,978.42
                                  686 Mesa Verde Drive                            Account number 132961
                                  Barberton, OH 44203
          07/27/15        4       First Federal Credit Control, Inc.              Account(s) Receivable(s)                         1121-000                   2,736.87                               603,715.29
          07/31/15                Bank of Kansas City                             BANK SERVICE FEE                                 2600-000                                           910.07         602,805.22
          08/03/15        4       Anna Durst                                      Account(s) Receivable(s)                         1121-000                    192.00                                602,997.22
                                  30099 Jefferson Way                             Account number 74297
                                  Westlake, OH 44145
          08/03/15        4       Elizabeth M. Jodon-Jacewicz                     Account(s) Receivable(s)                         1121-000                    161.37                                603,158.59
                                  765 Dahlia Circle                               Account number 534461
                                  Barberton, OH 44203
          08/03/15        4       Jeffrey and Heather Ettinger                    Account(s) Receivable(s)                         1121-000                     72.64                                603,231.23
                                  22550 Shelburne Road                            Account number 186389
                                  Shaker Hts., OH 44122
          08/03/15        4       Gail Leach                                      Account(s) Receivable(s)                         1121-000                     62.51                                603,293.74
                                  Richard Leach (payor)                           Account number 106162
          08/05/15       14       OPPT FR Ohioans w/Disabilities                  copy fee                                         1229-000                     20.00                                603,313.74
          08/06/15       16       Frantz Ward LLP                                 refunds of retainer                              1229-000               12,768.75                                  616,082.49
          08/10/15        4       Matthew D. Clemens                              Account(s) Receivable(s)                         1121-000                    810.11                                616,892.60
                                  31699 Trilluim Trl                              Account number 533175
                                  Papper Pike, OH 44124
          08/10/15        4       Howard E. Rowen                                 Account(s) Receivable(s)                         1121-000                        8.52                              616,901.12
                                  1611 S. Green Road                              Account number 2462
                                  South Euclid, OH 44121


                                                                                                                             Page Subtotals               16,857.77                   4,410.07
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                            Exhibit 9
  Case No:             15-11415 -AIH                                                                                       Trustee Name:                    DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                    Bank Name:                       BOK Financial
                                                                                                                           Account Number / CD #:           *******4864 Checking
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                              Blanket Bond (per case limit):   $ 2,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1              2                               3                                                 4                                          5                       6                   7
    Transaction       Check or                                                                                                    Uniform                                                      Account / CD
       Date           Reference               Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          08/10/15     010020     West Coast Dermatology Billers                                                                 2990-000                                          3,254.65        613,646.47
          08/18/15        4       Jonathan Price                                 Account(s) Receivable(s)                        1121-000                    10.00                                 613,656.47
                                  Jamie Price                                    Account number 157063
                                  1137 Jacoby Road
                                  Copley, OH 44321
          08/18/15        4       Sally Woznicki                                 Account(s) Receivable(s)                        1121-000                    98.99                                 613,755.46
                                  7231 Valley View                               Account number 141295
                                  Hudson, OH 44236
          08/18/15        4       Vladimir Nadtotchi                             Account(s) Receivable(s)                        1121-000                    61.18                                 613,816.64
                                  27000 Bishop Park Dr., #205                    Account number 518398
                                  Willoughby Hills, OH 44092
          08/18/15        4       Mr. & Mrs. Michael Hackett                     Account(s) Receivable(s)                        1121-000                    62.88                                 613,879.52
                                  9570 Green Valley Drive                        Account number 140994
                                  Mentor, OH 44060
          08/18/15        4       Anne Butler-Mathews                            Account(s) Receivable(s)                        1121-000                   119.74                                 613,999.26
                                  2653 Mull Avenue                               Account number 530716
                                  Copley, OH 44321
          08/18/15        4       James M. Osborne                               Account(s) Receivable(s)                        1121-000                    76.87                                 614,076.13
                                  10160 Sawmill Drive                            Account number 534382
                                  Chardon, OH 44024
          08/19/15        4       Victoria S. Vitale                             Account(s) Receivable(s)                        1121-000                    37.65                                 614,113.78
                                  1742 Chelmsford Road                           Account number 534651
                                  Mayfield Hts., OH 44124
          08/19/15        4       Christina Triplett                             Account(s) Receivable(s)                        1121-000                    30.00                                 614,143.78
                                  935 Owego Street                               Account number 531880
                                  Painesville, OH 44077
          08/20/15        4       Roy G. Parker                                  Account(s) Receivable(s)                        1121-000                        6.26                              614,150.04
                                  Susan M. Parker                                Account number 44356
                                  891 Wallwood Drive
                                  Copley, OH 44321

                                                                                                                           Page Subtotals                   503.57                  3,254.65
                                                                                                                                                                                                       Ver: 21.00a
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                        Exhibit 9
  Case No:             15-11415 -AIH                                                                                       Trustee Name:                    DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                    Bank Name:                       BOK Financial
                                                                                                                           Account Number / CD #:           *******4864 Checking
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                              Blanket Bond (per case limit):   $ 2,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1              2                               3                                                 4                                          5                     6                 7
    Transaction       Check or                                                                                                    Uniform                                                  Account / CD
       Date           Reference               Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)       Disbursements ($)      Balance ($)
          08/20/15        4       Patricia J. Burns                              Account(s) Receivable(s)                        1121-000                    42.89                             614,192.93
                                  John P. Burns                                  Account number 510654
                                  746 Grove Avenue
                                  Kent, OH 44240
          08/24/15        4       Jason Krecek                                   Account(s) Receivable(s)                        1121-000                    42.95                             614,235.88
                                  18580 Claridon Troy Road                       Account number 507791
                                  Hiram, OH 44234
          08/24/15        4       Gregory Hutchings                              Account(s) Receivable(s)                        1121-000                    20.00                             614,255.88
                                  Cheryl Hutchings                               Account number 533434
                                  18650 Parkland Drive
                                  Shaker Hts., OH 44122
          08/24/15        4       Susan Hart                                     Account(s) Receivable(s)                        1121-000                    25.00                             614,280.88
                                  686 Mesa Verde Dr.                             Account number 132961
                                  Barberton, OH 44203
          08/24/15        4       Cecil and Susan Tout                           Account(s) Receivable(s)                        1121-000                    80.45                             614,361.33
                                  10632 Tudor Circle                             Account number 98274
                                  North Royalton, OH 44133
          08/24/15        4       Raymond and Jennifer Beall                     Account(s) Receivable(s)                        1121-000                    37.65                             614,398.98
                                  10009 Running Brook Drive                      Account number 534347
                                  Parma, OH 44130
          08/24/15        4       Stuart and Stephanie Mabee                     Account(s) Receivable(s)                        1121-000                    45.00                             614,443.98
                                  15535 Raya Oval                                Account number 507235
                                  North Royalton, OH 44133
          08/24/15        4       Craig and Linda Voorman                        Account(s) Receivable(s)                        1121-000                    10.10                             614,454.08
                                  89 Hamden Drive                                Account number 124724
                                  Hudson, OH 44236
          08/24/15        4       Brian and Patricia Dunmire                     Account(s) Receivable(s)                        1121-000                    74.66                             614,528.74
                                  5628 Bay Court                                 Account number 183154
                                  Willoughby, OH 44094
          08/25/15        4       Ashley Coleman                                 Account(s) Receivable(s)                        1121-000                    25.00                             614,553.74

                                                                                                                           Page Subtotals                   403.70                  0.00
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                          Exhibit 9
  Case No:             15-11415 -AIH                                                                                        Trustee Name:                      DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                     Bank Name:                         BOK Financial
                                                                                                                            Account Number / CD #:             *******4864 Checking
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                               Blanket Bond (per case limit):     $ 2,000,000.00
                                                                                                                            Separate Bond (if applicable):


           1              2                                3                                                 4                                          5                       6                 7
    Transaction       Check or                                                                                                     Uniform                                                    Account / CD
       Date           Reference                Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
                                  1922 6th St. SW                                 Account number 532070
                                  Akron, OH 44314
          08/25/15        4       Michael W. Powell                               Account(s) Receivable(s)                        1121-000                     16.77                              614,570.51
                                  7340 Hayes Blvd.                                Account number 104092
                                  Mentor, OH 44060
          08/31/15        4       First Federal Credit Control                    Account(s) Receivable(s)                        1121-000                   2,295.21                             616,865.72
                                                                                  Account period ending August 24, 2015
          08/31/15        4       Donald Laney                                    Account(s) Receivable(s)                        1121-000                    400.76                              617,266.48
                                  2381 Lyndon Drive                               Account number 533766
                                  Uniontown, OH 44685
          08/31/15        4       William Chilton                                 Account(s) Receivable(s)                        1121-000                     20.00                              617,286.48
                                  Kristen Chilton                                 Account number 111556
                                  8484 Evergreen Drive
                                  Sagamore Hills, OH 44067
          08/31/15        4       Eric Radtke                                     Account(s) Receivable(s)                        1121-000                     40.17                              617,326.65
                                  38004 Ridge Road                                Account number 128175
                                  Willoughby, OH 44094
          08/31/15        4       Elizabeth Meckler                               Account(s) Receivable(s)                        1121-000                    248.88                              617,575.53
                                  707 Senn Drive                                  Account number 532885
                                  Tallmadge, OH 44278
          08/31/15        4       Meghan Kulaszewski                              Account(s) Receivable(s)                        1121-000                     14.81                              617,590.34
                                  2403 Keystone Road                              Account number 533808
                                  Parma, OH 44134
          08/31/15        4       Todd Graham                                     Account(s) Receivable(s)                        1121-000                     15.00                              617,605.34
                                  Tamara Graham                                   Account number 534087
                                  95 Rustic Terrace
                                  Monroe Falls, OH 44262
          08/31/15        4       Kelly Donatelli                                 Account(s) Receivable(s)                        1121-000                     80.00                              617,685.34
                                  Mark Donatelli                                  Account numbers 534119 and 190046
                                  5412 SW 24th Avenue

                                                                                                                            Page Subtotals                   3,131.60                  0.00
                                                                                                                                                                                                      Ver: 21.00a
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit 9
  Case No:             15-11415 -AIH                                                                                       Trustee Name:                      DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                    Bank Name:                         BOK Financial
                                                                                                                           Account Number / CD #:             *******4864 Checking
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                              Blanket Bond (per case limit):     $ 2,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1              2                                3                                                4                                          5                       6                  7
    Transaction       Check or                                                                                                    Uniform                                                     Account / CD
       Date           Reference               Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)       Balance ($)
                                  Cape Coral, FL 33914
          08/31/15        4       Lynn Cooperrider                               Account(s) Receivable(s)                        1121-000                    120.01                               617,805.35
                                  Mark Cooperrider                               Account number 141620
                                  580 Hanford Dr.
                                  Highland Hts., OH 44143
          08/31/15        4       Kristie Zappitelli                             Account(s) Receivable(s)                        1121-000                     37.17                               617,842.52
                                  7286 Waterfowl Way                             Account number 95780
                                  Concord, OH 44077
          08/31/15                Bank of Kansas City                            BANK SERVICE FEE                                2600-000                                          907.61         616,934.91
          09/01/15        4       Anne L. Staats                                 Account(s) Receivable(s)                        1121-000                    200.00                               617,134.91
                                                                                 Account number 100130
          09/01/15        4       John R. Starkey                                Account(s) Receivable(s)                        1121-000                   1,052.95                              618,187.86
                                  2694 S Canal Street                            Account number 533977
                                  Newton Falls, OH 44444
          09/02/15        4       Christian Basson                               Account(s) Receivable(s)                        1121-000                    302.84                               618,490.70
                                  4040 Fairway Drive                             Account number 527691
                                  Medina, OH 44256
          09/02/15        4       Robert Morell                                  Account(s) Receivable(s)                        1121-000                    183.83                               618,674.53
                                  Meggan Morell                                  Account numbers 190831 and 517775
                                  8 Deerfield Drive
                                  Chagrin Falls, OH 44022
          09/02/15     010021     West Coast Dermatology Billers                                                                 2990-000                                          897.46         617,777.07
          09/09/15        4       Kevin L. String                                Account(s) Receivable(s)                        1121-000                    213.13                               617,990.20
                                  3175 Northwood Drive                           Account number 91553
                                  Pepper Pike, OH 44124
          09/09/15        4       Christina Jankowski                            Account(s) Receivable(s)                        1121-000                     86.34                               618,076.54
                                  Daniel Jankowski                               Account number 75463
                                  4137 Fairway Drive
                                  Medina, OH 44256
          09/09/15        4       Nathaniel Pendleton                            Account(s) Receivable(s)                        1121-000                     89.88                               618,166.42

                                                                                                                           Page Subtotals                   2,286.15               1,805.07
                                                                                                                                                                                                      Ver: 21.00a
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                             Exhibit 9
  Case No:             15-11415 -AIH                                                                                         Trustee Name:                      DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                      Bank Name:                         BOK Financial
                                                                                                                             Account Number / CD #:             *******4864 Checking
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                                Blanket Bond (per case limit):     $ 2,000,000.00
                                                                                                                             Separate Bond (if applicable):


           1              2                               3                                                 4                                            5                       6                  7
    Transaction       Check or                                                                                                      Uniform                                                     Account / CD
       Date           Reference               Paid To / Received From                          Description Of Transaction          Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
                                  Elizabeth Pendleton                            Account number 80011
                                  2552 Stonefield Drive
                                  Avon, OH 44011
          09/09/15        4       Joseph Bohms                                   Account(s) Receivable(s)                          1121-000                        5.00                             618,171.42
                                  Elaine Feagler                                 Account number 525747
                                  4207 W. 220th Street
                                  Fairview Park, OH 44126
          09/09/15        4       Lindsay Sharp                                  Account(s) Receivable(s)                          1121-000                     82.62                               618,254.04
                                  2431 Loyola Road                               Account number 534491
                                  University Hts., OH 44118
          09/09/15       17       Heartland Payment Systems, Inc.                refund of post-petition fees                      1229-000                   1,671.40                              619,925.44
          09/15/15        4       Christine K. Sparrow                           Account(s) Receivable(s)                          1121-000                     16.24                               619,941.68
                                  17310 Wood AcreTrail                           Account number 506916
                                  Chagrin Falls, OH 44023
          09/15/15        4       Susie Nagy                                     Account(s) Receivable(s)                          1121-000                    100.00                               620,041.68
                                  P.O. Box 374                                   Account numbers 520479 and 248164 (may be
                                  Conneaut, OH 44030                             248614)
          09/15/15        4       Michele Mullett                                Account(s) Receivable(s)                          1121-000                     70.00                               620,111.68
                                  9050 Mayfield Road                             Account number 104848
                                  Chesterland, OH 44026
          09/15/15        4       Susan Hart                                     Account(s) Receivable(s)                          1121-000                     25.00                               620,136.68
                                  686 Mesa Verde Drive                           Account number 132961
                                  Barberton, OH 44203
          09/15/15        4       Scott Foreman                                  Account(s) Receivable(s)                          1121-000                     58.00                               620,194.68
                                  Joyce Foreman                                  Account number 521310
                                  4390 Parrot Road, NW
                                  Strasburg, OH 44680
          09/17/15        4       Gary D. Helf                                   Account(s) Receivable(s)                          1121-000                     28.49                               620,223.17
                                  12395 Painesville Warren Road                  Account number 529672
                                  Concord, OH 44077

                                                                                                                             Page Subtotals                   2,056.75                   0.00
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                    Exhibit 9
  Case No:             15-11415 -AIH                                                                                                Trustee Name:                      DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                             Bank Name:                         BOK Financial
                                                                                                                                    Account Number / CD #:             *******4864 Checking
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                                       Blanket Bond (per case limit):     $ 2,000,000.00
                                                                                                                                    Separate Bond (if applicable):


           1              2                                3                                                 4                                                  5                       6                   7
    Transaction       Check or                                                                                                             Uniform                                                      Account / CD
       Date           Reference                Paid To / Received From                         Description Of Transaction                 Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)
          09/17/15        4       Jennifer and Patrick Healy                      Account(s) Receivable(s)                                1121-000                     47.20                                620,270.37
                                  4627 Wilburn Drive                              Account number 501871
                                  South Euclid, OH 44121
          09/17/15        4       Christine Heft                                  Account(s) Receivable(s)                                1121-000                     80.97                                620,351.34
                                  4038 Gardiner Run                               Account number 108444
                                  Copley, OH 44321
          09/21/15        4       OPPT FR OHIOANS W/DISABILITIES                  Account(s) Receivable(s)                                1121-000                     20.00                                620,371.34
                                                                                  Shally T. Rossman
                                                                                  SS# xxx-xx-8206
          09/21/15        4       G. L. Gackowski                                 Account(s) Receivable(s)                                1121-000                     14.37                                620,385.71
                                  6434 Goebel Drive                               Account number 529398
                                  Parma, OH 44134
          09/21/15        4       David Strauss                                   Account(s) Receivable(s)                                1121-000                    113.00                                620,498.71
                                  8201 Lanmark Drive                              Account number 61420 (paid in full per Trustee)
                                  Mentor, OH 44060
          09/24/15        4       First Federal Credit Control                    Account(s) Receivable(s)                                1121-000                   4,209.76                               624,708.47
                                                                                  Funds collected for reporting period of September,
                                                                                  2015
          09/28/15        4       Kevin Marlow                                    Account(s) Receivable(s)                                1121-000                     43.17                                624,751.64
                                  35431 Ridge Road                                Account number 528823
                                  Willoughby, OH 44094
          09/28/15        4       Ryan Andrews                                    Account(s) Receivable(s)                                1121-000                    308.79                                625,060.43
                                  18928 Inglewood Avenue                          Account number 531069
                                  Rocky River, OH 44116
          09/30/15                Bank of Kansas City                             BANK SERVICE FEE                                        2600-000                                           890.63         624,169.80
          10/01/15        4       Karen Anne Carroll                              Account(s) Receivable(s)                                1121-000                     20.00                                624,189.80
                                  OPPT FR Ohioans w/Disabilities                  SS#: xxx-xx-7529
          10/02/15     010022     West Coast Dermatology Billers                                                                          2990-000                                          1,562.10        622,627.70
                                  125 Oxford Road
                                  Casselberry, FL 32730

                                                                                                                                    Page Subtotals                   4,857.26                2,452.73
                                                                                                                                                                                                                Ver: 21.00a
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                                                                           ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                   Exhibit 9
  Case No:             15-11415 -AIH                                                                                                 Trustee Name:                      DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                              Bank Name:                         BOK Financial
                                                                                                                                     Account Number / CD #:             *******4864 Checking
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                                        Blanket Bond (per case limit):     $ 2,000,000.00
                                                                                                                                     Separate Bond (if applicable):


           1              2                                3                                                   4                                                 5                       6                   7
     Transaction      Check or                                                                                                               Uniform                                                     Account / CD
        Date          Reference                Paid To / Received From                            Description Of Transaction                Tran. Code      Deposits ($)         Disbursements ($)        Balance ($)
          10/12/15        4       Steven C. Wheatley                                Account(s) Receivable(s)                                1121-000                   148.50                                622,776.20
                                  120 Park Street                                   Account number 510514
                                  Wadsworth, OH 44281
          10/12/15        4       Susan Hart                                        Account(s) Receivable(s)                                1121-000                    25.00                                622,801.20
                                  686 Mesa Verde Druive                             Account number 132961
                                  Barberton, OH 44203
          10/12/15        4       Kenzie Bort                                       Account(s) Receivable(s)                                1121-000                    46.97                                622,848.17
                                  pd by Jody Wolf                                   Account number 502261
                                  3697 Indiana St.
                                  Perry, OH 44081
 *        10/15/15     010023     University Suburban Real Estate Ltd.                                                                      2410-000                                     12,698.80           610,149.37
          10/15/15     010024     Twin Towers Ltd.                                                                                          2410-000                                         5,000.00        605,149.37
          10/19/15     010025     KeyBank National Association                      document production                                     2990-000                                           31.15         605,118.22
          10/27/15        4       First Federal Credit Control                      Account(s) Receivable(s)                                1121-000                  1,607.61                               606,725.83
                                                                                    Funds collected for reporting period of October, 2015
          10/30/15                Bank of Kansas City                               BANK SERVICE FEE                                        2600-000                                          926.67         605,799.16
          11/03/15        4       Susie M. Nagy                                     Account(s) Receivable(s)                                1121-000                    80.00                                605,879.16
                                  P.O. Box 374                                      Account number 248614
                                  Conneaut, OH 44030
          11/03/15     010026     Mentor Medical Campus Physician Bldg LLC                                                                  2410-000                                         3,307.05        602,572.11
          11/09/15       18       Ohio Dept. of Jobs and Family Services            refund of taxes                                         1221-000                    68.87                                602,640.98
          11/20/15     010027     Highmark Blue Shield                              erroneous post-petition payment                         8500-002                                          280.89         602,360.09
                                  Cashier                                           Erroneous post petition payment from insurer
                                  PO Box 890150
                                  Camp Hill, PA 17011-9774
 *        11/23/15        4       Mark and Michelle Mendes                          Account(s) Receivable(s)                                1121-000                   198.80                                602,558.89
                                  3085 Farimount Blvd                               Account number 120103
                                  Cleveland Hts., OH 44118
          11/25/15        4       First Federal Credit Control                      Account(s) Receivable(s)                                1121-000                  2,611.47                               605,170.36


                                                                                                                                    Page Subtotals                    4,787.22               22,244.56
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                                                                           ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                            Exhibit 9
  Case No:             15-11415 -AIH                                                                                           Trustee Name:                     DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                        Bank Name:                        BOK Financial
                                                                                                                               Account Number / CD #:            *******4864 Checking
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                                  Blanket Bond (per case limit):    $ 2,000,000.00
                                                                                                                               Separate Bond (if applicable):


           1              2                                3                                                   4                                           5                      6                   7
     Transaction      Check or                                                                                                        Uniform                                                     Account / CD
        Date          Reference                  Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)        Disbursements ($)        Balance ($)
          11/25/15        4       Brian Polick                                      Account(s) Receivable(s)                         1121-000                   100.00                                605,270.36
                                                                                    Account number 69902
          11/30/15        4       Milton Motsco                                     Account(s) Receivable(s)                         1121-000                    77.59                                605,347.95
                                  303 Center Road                                   Account number 533255
                                  Bedford, OH 44146
          11/30/15     010028     Keystone Technoloby Consultants                                                                    2990-000                                         3,627.50        601,720.45
                                  787 Wye Road
                                  Akron, OH 44333
          11/30/15                Bank of Kansas City                               BANK SERVICE FEE                                 2600-000                                          887.80         600,832.65
 *        12/02/15        4       Mark and Michelle Mendes                          Account(s) Receivable(s)                         1121-000                   -198.80                               600,633.85
                                  3085 Farimount Blvd                               Check is being returned NSF
                                  Cleveland Hts., OH 44118
          12/02/15        4       Mark Mendes                                       Account(s) Receivable(s)                         1121-000                   198.80                                600,832.65
                                  Michelle Mendes                                   Account number 120103
                                  3085 Fairmount Blvd.
                                  Cleveland Hts., OH 44118
          12/09/15        4       Philip Lam                                        Account(s) Receivable(s)                         1121-000                   201.78                                601,034.43
                                  Sharon Lam                                        Account number 533939
                                  11921 Gelb Avenue
                                  Hartville, OH 44632
          12/11/15        4       Susie M. Nagy                                     Account(s) Receivable(s)                         1121-000                   100.00                                601,134.43
                                  P.O. Box 374                                      Account number 248614
                                  Conneaut, OH 44030
 *        12/17/15     010029     Dodd, L'Hommedieu & McGrievy, LLC                                                                  3210-000                                     29,667.00           571,467.43
 *        12/17/15     010029     Dodd, L'Hommedieu & McGrievy, LLC                 VOID                                             3210-000                                     -29,667.00          601,134.43
                                                                                    wrong paper
 *        12/17/15     010030     Dodd, L'Hommedieu & McGrievy, LLC                                                                  3220-000                                           80.84         601,053.59
 *        12/17/15     010030     Dodd, L'Hommedieu & McGrievy, LLC                 VOID                                             3220-000                                           -80.84        601,134.43
                                                                                    wrong paper



                                                                                                                               Page Subtotals                   479.37                 4,515.30
                                                                                                                                                                                                          Ver: 21.00a
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                 Exhibit 9
  Case No:             15-11415 -AIH                                                                                             Trustee Name:                      DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                          Bank Name:                         BOK Financial
                                                                                                                                 Account Number / CD #:             *******4864 Checking
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                                    Blanket Bond (per case limit):     $ 2,000,000.00
                                                                                                                                 Separate Bond (if applicable):


           1              2                               3                                                 4                                                5                       6                   7
     Transaction      Check or                                                                                                          Uniform                                                      Account / CD
        Date          Reference                Paid To / Received From                          Description Of Transaction             Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)
 *        12/17/15     010031     Ohio Department of Taxation                     sales tax                                            2820-000                                          2,305.39        598,829.04
                                  Sales Tax Claim
 *        12/17/15     010031     Ohio Department of Taxation                     sales tax                                            2820-000                                          -2,305.39       601,134.43
                                  Sales Tax Claim                                 wrong paper
 *        12/17/15     010032     Ohio Department of Taxation                     cat tax                                              2820-000                                      26,436.34           574,698.09
                                  CAT
 *        12/17/15     010032     Ohio Department of Taxation                     cat tax                                              2820-000                                      -26,436.34          601,134.43
                                  CAT                                             wrong paper
          12/17/15     010033     Brian R. Greene                                                                                      3410-000                                      17,630.25           583,504.18
          12/17/15     010034     Dodd, L'Hommedieu & McGrievy, LLC                                                                    3210-000                                      29,667.00           553,837.18
          12/17/15     010035     Dodd, L'Hommedieu & McGrievy, LLC                                                                    3220-000                                             80.84        553,756.34
          12/17/15     010036     Ohio Department of Taxation                     sales tax                                            2820-000                                          2,305.39        551,450.95
                                  Sales Tax Claim
          12/17/15     010037     Ohio Department of Taxation                     cat tax                                              2820-000                                      26,436.34           525,014.61
                                  CAT
          12/17/15     010038     Frederic P. Schwieg                                                                                  3210-000                                      30,270.00           494,744.61
          12/17/15     010039     Frederic P. Schwieg                                                                                  3220-000                                            367.60        494,377.01
          12/17/15     010040     Lauren A. Helbling                                                                                   2100-000                                      44,174.27           450,202.74
 *        12/17/15     010041     Lauren A. Helbling                                                                                   2200-000                                          2,947.02        447,255.72
 *        12/18/15     010023     University Suburban Real Estate Ltd.            Stop Payment Reversal                                2410-000                                      -12,698.80          459,954.52
                                                                                  STOP PAYMENT
          12/21/15     010042     University Suburban Real Estate LTD                                                                  2410-000                                      12,698.80           447,255.72
          12/21/15     010043     Primetime Health Plan                           refund of incorrect payment                          8500-002                                             57.94        447,197.78
                                                                                  reduced the 6/24/15 wire in compensation figures
          12/22/15     010044     Insurance Partners Agency, Inc.                 Bond Premium                                         2300-000                                            774.97        446,422.81
                                  26865 Center Ridge Road
                                  Westlake, OH 44145
          12/29/15        4       FFCC                                            Account(s) Receivable(s)                             1121-000                   7,305.59                               453,728.40
                                                                                  Accounts receivable for December, 2015


                                                                                                                                 Page Subtotals                   7,305.59           154,711.62
                                                                                                                                                                                                             Ver: 21.00a
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                                                                           ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                               Exhibit 9
  Case No:             15-11415 -AIH                                                                                               Trustee Name:                      DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                            Bank Name:                         BOK Financial
                                                                                                                                   Account Number / CD #:             *******4864 Checking
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                                      Blanket Bond (per case limit):     $ 2,000,000.00
                                                                                                                                   Separate Bond (if applicable):


           1              2                                3                                                   4                                               5                       6                 7
    Transaction       Check or                                                                                                            Uniform                                                    Account / CD
       Date           Reference                  Paid To / Received From                          Description Of Transaction             Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
          12/29/15        9       Cleveland Dermatology Group, LLC                  Patient Notice fee                                   1129-000                   4,286.00                             458,014.40
          12/29/15       19       Ohio Department of Commerce                       unclaimed funds                                      1221-000                    567.67                              458,582.07
          12/31/15                Bank of Kansas City                               BANK SERVICE FEE                                     2600-000                                          880.08        457,701.99
          01/02/16     010045     Gary Lichten                                      post-bankruptcy services incorrectly paid to this  8500-002                                             57.94        457,644.05
                                                                                    estate. Refunding to correct party. deducted the
                                                                                    compensable from the 6/24/15 deposit from Key Bank
          01/02/16     010046     Eric B. Baud                                      Post-bankrutpcy services paid to wrong party.       8500-002                                            41.96        457,602.09
                                                                                    Refunding to correct party. Reduced the compensable
                                                                                    from the 6/24/15 Key Bank deposit to account for
                                                                                    these funds.
          01/08/16        4       Key Bank                                          Account(s) Receivable(s)                             1121-000               80,715.98                                538,318.07
                                                                                    Compensable reduced for return of non-estate funds
                                                                                    from various insurers who proved that they had
                                                                                    mistakenly paid UDI.
          01/12/16        9       Allied Dermatology and Skin Surgery               SALE OF BUSINESS                                     1129-000                   8,572.00                             546,890.07
          01/13/16        4       Joellen Jubara                                    Account(s) Receivable(s)                             1121-000                    218.31                              547,108.38
                                  4418 Folkstone Cir.                               Account number 511037
                                  Uniontown, OH 44685
          01/13/16        4       Patrick Thomas                                    Account(s) Receivable(s)                             1121-000                    182.70                              547,291.08
                                                                                    Account number 186692
          01/19/16        4       Craig Shopneck, Capter 13 Trustee                 Account(s) Receivable(s)                             1121-000                     12.47                              547,303.55
                                  Bankruptcy Estate of Kenneth and                  Bankruptcy Estate of Kenneth and Nancy Mathews
                                  Nancy Mathews 15-12855                            15-12855
          01/26/16        4       Key Bank                                          Account(s) Receivable(s)                             1121-000                    114.40                              547,417.95
                                                                                    Funds deposited into KeyBank before account could
                                                                                    be closed completely
          01/26/16        4       Susie M. Nagy                                     Account(s) Receivable(s)                             1121-000                    100.00                              547,517.95
                                  P.O. Box 374                                      Account number 248614
                                  Conneaut, OH 44030



                                                                                                                                   Page Subtotals               94,769.53                   979.98
                                                                                                                                                                                                             Ver: 21.00a
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                   Exhibit 9
  Case No:             15-11415 -AIH                                                                                               Trustee Name:                      DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                            Bank Name:                         BOK Financial
                                                                                                                                   Account Number / CD #:             *******4864 Checking
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                                      Blanket Bond (per case limit):     $ 2,000,000.00
                                                                                                                                   Separate Bond (if applicable):


           1              2                                3                                                 4                                                 5                       6                   7
     Transaction      Check or                                                                                                            Uniform                                                      Account / CD
        Date          Reference                Paid To / Received From                         Description Of Transaction                Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)
          01/28/16        4       First Federal Credit Control                    Account(s) Receivable(s)                               1121-000                   3,535.45                               551,053.40
                                                                                  Reporting period January, 2016
          01/29/16                Bank of Kansas City                             BANK SERVICE FEE                                       2600-000                                            863.12        550,190.28
          02/08/16       12       American Express                                refund                                                 1229-000                     20.00                                550,210.28
 *        02/10/16     010041     Lauren A. Helbling                              VOID                                                   2200-000                                          -2,947.02       553,157.30
                                                                                  wrong amount
          02/10/16     010047     U.S. Treasury                                   2015 income tax                                        2810-000                                      170,648.00          382,509.30
          02/10/16     010048     Lauren A. Helbling                              trsutee expense                                        2200-000                                          2,747.02        379,762.28
          02/12/16     010049     Bath Akron Fairlawn JEDD                        income tax 2015                                        2820-000                                          2,603.00        377,159.28
                                  JEDD Income Tax
                                  P.O. Box 80538
                                  Akron, OH 44308
          02/12/16     010050     City of Parma                                   EIN XX-XXXXXXX                                         2820-000                                            835.00        376,324.28
                                  Taxation Division                               Form Z balance due for year ended 12/31/15
                                  PO Box 94734
                                  Cleveland, OH 44101-4734
          02/12/16     010051     RITA                                            EIN XX-XXXXXXX                                         2820-000                                          5,331.00        370,993.28
                                  Regional Income Tax Agency                      Form 27 blance due for the year ended 12/31/15
                                  PO Box 89475
                                  Cleveland, OH 44101-6475
          02/19/16     010052     ROJW                                            refund of non-estate funds inadvert                    8500-002                                            110.89        370,882.39
                                  Health Care Support
                                  25 Columbia Heights
                                  Brooklyn NY 11201
          02/22/16        4       Susie Nagy                                      Account(s) Receivable(s)                               1121-000                    100.00                                370,982.39
                                  P.O. Box 374                                    Account number 248614
                                  Conneaut, OH 44030
          02/22/16       15       Healthcomp, Inc.                                rebate                                                 1229-000                     51.04                                371,033.43
          02/24/16        4       First Federal Credit Control                    Account(s) Receivable(s)                               1121-000                   4,440.23                               375,473.66


                                                                                                                                   Page Subtotals                   8,146.72            180,191.01
                                                                                                                                                                                                               Ver: 21.00a
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                 Exhibit 9
  Case No:             15-11415 -AIH                                                                                             Trustee Name:                      DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                          Bank Name:                         BOK Financial
                                                                                                                                 Account Number / CD #:             *******4864 Checking
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                                    Blanket Bond (per case limit):     $ 2,000,000.00
                                                                                                                                 Separate Bond (if applicable):


           1              2                                3                                                 4                                               5                       6                   7
    Transaction       Check or                                                                                                          Uniform                                                      Account / CD
       Date           Reference                Paid To / Received From                          Description Of Transaction             Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)
                                                                                  Reporting period February, 2016
          02/29/16                Bank of Kansas City                             BANK SERVICE FEE                                     2600-000                                           648.49         374,825.17
          03/22/16     010053     Iron Mountain                                   destruction of records                               2410-000                                          7,758.80        367,066.37
          03/24/16        4       Federated Mutual Insurance Company              Account(s) Receivable(s)                             1121-000                     43.09                                367,109.46
                                  P.O. Box 991/HC01                               Patient name: Gregory Hiltebrant
                                  Owatonna, MN 55060
          03/28/16        4       First Federal Credit Control                    Account(s) Receivable(s)                             1121-000                   1,645.71                               368,755.17
                                                                                  March, 2016 Reporting Period
          03/31/16                Bank of Kansas City                             BANK SERVICE FEE                                     2600-000                                           560.85         368,194.32
          04/05/16     010054     UnitedHealthcare                                non-estate funds                                     8500-002                                            47.20         368,147.12
          04/13/16        4       Dennis Cornacchione                             Account(s) Receivable(s)                             1121-000                     59.32                                368,206.44
                                  361 E. 288th Street                             Account number 533981
                                  Willowick, OH 44095
          04/14/16        4       Susie M. Nagy                                   Account(s) Receivable(s)                             1121-000                    100.00                                368,306.44
                                  P.O. Box 374                                    Account number 248614
                                  Conneaut, OH 44030
          04/14/16        4       Craig Shopneck, Chpt 13 Trustee                 Account(s) Receivable(s)                             1121-000                     10.46                                368,316.90
                                  Estate of Spivey (15-12543)
          04/20/16     010055     KeyBank                                         Refund non-estate assets for InHealth to KeyBank     8500-002                                            74.25         368,242.65
                                                                                  lockbox
          04/25/16        4       First Federal Credit Control                    Account(s) Receivable(s)                             1121-000                   1,887.74                               370,130.39
                                                                                  Reporting Period April, 2016
          04/29/16                Bank of Kansas City                             BANK SERVICE FEE                                     2600-000                                           532.68         369,597.71
          05/20/16        4       Susie M. Nagy                                   Account(s) Receivable(s)                             1121-000                     50.00                                369,647.71
                                  P.O. Box 374                                    Account number 284614
                                  Conneaut, OH 44030
          05/26/16        4       First Federal Credit Control                    Account(s) Receivable(s)                             1121-000                   2,036.77                               371,684.48
                                                                                  For period May, 2016
          05/31/16     010056     Iron Mountain                                   additional charge for glass slides                   2410-000                                          2,700.00        368,984.48


                                                                                                                                 Page Subtotals                   5,833.09               12,322.27
                                                                                                                                                                                                             Ver: 21.00a
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                                                                           ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                             Exhibit 9
  Case No:             15-11415 -AIH                                                                                           Trustee Name:                      DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                        Bank Name:                         BOK Financial
                                                                                                                               Account Number / CD #:             *******4864 Checking
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                                  Blanket Bond (per case limit):     $ 2,000,000.00
                                                                                                                               Separate Bond (if applicable):


           1              2                                3                                                   4                                           5                       6                   7
     Transaction      Check or                                                                                                        Uniform                                                      Account / CD
        Date          Reference                  Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)
          05/31/16                Bank of Kansas City                               BANK SERVICE FEE                                 2600-000                                           547.75         368,436.73
          06/28/16        4       First Federal Credit Control                      Account(s) Receivable(s)                         1121-000                    810.47                                369,247.20
                                                                                    June, 2016 reporting period
          06/30/16                Bank of Kansas City                               BANK SERVICE FEE                                 2600-000                                           530.15         368,717.05
          07/13/16        4       Susie Nagy                                        Account(s) Receivable(s)                         1121-000                     50.00                                368,767.05
                                  P.O. Box 374                                      Account number 248614
                                  Conneaut, OH 44030
          07/25/16     010057     Paycor, Inc.                                      pay roll report for 2014                         2990-000                                           216.00         368,551.05
          07/26/16        4       Craig Shopneck, Chpt 13 Trustee                   Account(s) Receivable(s)                         1121-000                     10.56                                368,561.61
                                  Estate of Mathews 15-12855
          07/29/16        4       FIRST FEDERAL CREDIT CONTROL                      Account(s) Receivable(s)                         1121-000                    427.01                                368,988.62
                                                                                    July, 2016 Reporting Period
          07/29/16                Bank of Kansas City                               BANK SERVICE FEE                                 2600-000                                           546.53         368,442.09
          08/22/16        4       Susie Nagy                                        Account(s) Receivable(s)                         1121-000                     50.00                                368,492.09
                                  P.O. Box 374                                      Account number 248614
                                  Conneaut, OH 44030
          08/29/16        4       First Federal Credit Control                      Account(s) Receivable(s)                         1121-000                    978.02                                369,470.11
                                                                                    Reporting period August, 2016
          08/31/16                Bank of Kansas City                               BANK SERVICE FEE                                 2600-000                                           546.09         368,924.02
          09/21/16     010058     SRS Software, LLC                                 admin claim per court order                      2990-000                                          4,401.50        364,522.52
          09/27/16        4       First Federal Credit Control                      Account(s) Receivable(s)                         1121-000                    569.27                                365,091.79
                                                                                    Reporting Period September, 2016
          09/30/16                Bank of Kansas City                               BANK SERVICE FEE                                 2600-000                                           529.21         364,562.58
 *        10/21/16                INTERNAL REVENUE SERVICE                          MEDICARE TAX                                     5300-000                                           346.44         364,216.14
                                  PO BOX 21125
                                  PHILADELPHIA, PA 19114
 *        10/21/16                INTERNAL REVENUE SERVICE                          MEDICARE MATCH                                   5800-000                                           346.44         363,869.70
                                  PO BOX 21125
                                  PHILADELPHIA, PA 19114


                                                                                                                               Page Subtotals                   2,895.33                8,010.11
                                                                                                                                                                                                           Ver: 21.00a
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit 9
  Case No:             15-11415 -AIH                                                                                      Trustee Name:                    DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                   Bank Name:                       BOK Financial
                                                                                                                          Account Number / CD #:           *******4864 Checking
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                             Blanket Bond (per case limit):   $ 2,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1              2                             3                                                4                                            5                       6                   7
     Transaction      Check or                                                                                                   Uniform                                                      Account / CD
        Date          Reference               Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
 *        10/21/16                INTERNAL REVENUE SERVICE                       SOCIAL SECURITY                                5300-000                                          1,481.31        362,388.39
                                  PO BOX 21125
                                  PHILADELPHIA, PA 19114
 *        10/21/16                INTERNAL REVENUE SERVICE                       SS FICA MATCH                                  5800-000                                          1,481.31        360,907.08
                                  PO BOX 21125
                                  PHILADELPHIA, PA 19114
 *        10/21/16                INTERNAL REVENUE SERVICE                       Federal Income Tax                             5300-000                                          4,778.44        356,128.64
                                  PO BOX 21125
                                  PHILADELPHIA, PA 19114
 *        10/21/16     010059     OHIO DEPT OF TAXATION                          OHIO TAX                                       5300-000                                           716.77         355,411.87
                                  PO BOX 530
                                  COLUMBUS, OH 43266-0030
 *        10/21/16     010060     Regional Income Tax Agency                     S EUCLID                                       5300-000                                           127.29         355,284.58
                                  PO Box 477900
                                  Broadview Hts., OH 44147
 *        10/21/16     010061     JEDDS                                          Akron                                          5300-000                                           219.15         355,065.43
                                  PO Box 80538
                                  Akron, OH 44038
 *        10/21/16     010062     City of PARMA                                  Parma                                          5300-000                                           127.07         354,938.36
                                  Div of Taxation
                                  6611 Ridge Rd
                                  Parma, OH 44129
 *        10/21/16     010063     Regional Income Tax Agency                     RITA FOR WESTLAKE                              5300-000                                            15.76         354,922.60
                                  PO Box 477900
                                  Broadviwe Hts., OH 44147-7900
 *        10/21/16     010064     Regional Income Tax Agency                     Cleveland Hts Div Tax                          5300-000                                            37.23         354,885.37
                                  PO Box 477900
                                  Broadview Hts., OH 44147
 *        10/21/16     010065     Hardesty, Anna                                 Claim 000001, Payment 100.00000%                                                                  267.92         354,617.45
                                  284 E Baird Ave

                                                                                                                          Page Subtotals                        0.00               9,252.25
                                                                                                                                                                                                      Ver: 21.00a
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                                                                           ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit 9
  Case No:             15-11415 -AIH                                                                                         Trustee Name:                    DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                      Bank Name:                       BOK Financial
                                                                                                                             Account Number / CD #:           *******4864 Checking
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                                Blanket Bond (per case limit):   $ 2,000,000.00
                                                                                                                             Separate Bond (if applicable):


           1              2                                3                                                4                                            5                       6                   7
     Transaction      Check or                                                                                                      Uniform                                                      Account / CD
        Date          Reference                  Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                  Barberton OH 44203
                                                                                          Claim            266.31                  5300-000
                                                                                          Interest           1.61                  7990-000
 *        10/21/16     010066     Maria J. Keeler                                   Claim 000002, Payment 100.00000%                                                                 2,985.35        351,632.10
                                  3410 Chestnut Hill Dr.
                                  Medina, OH 44256
                                                                                          Claim           2,967.39                 5300-000
                                                                                          Interest          17.96                  7990-000
 *        10/21/16     010067     Lewis, Kyle                                       Claim 000003, Payment 100.00000%                                                                 1,117.10        350,515.00
                                  1429 Lander Road
                                  Cleveland OH 44124
                                                                                          Claim           1,110.38                 5300-000
                                                                                          Interest           6.72                  7990-000
 *        10/21/16     010068     Nemeth, Marianna                                  Claim 000004, Payment 100.00000%                                                                 1,001.27        349,513.73
                                  2140 Bellus Rd
                                  Hinckley OH 44233
                                                                                          Claim            995.25                  5300-000
                                                                                          Interest           6.02                  7990-000
 *        10/21/16     010069     McDicken, Susan                                   Claim 000005, Payment 100.00000%                                                                 1,114.76        348,398.97
                                  12929 Vincent Dr.
                                  Chesterland OH 44026
                                                                                          Claim           1,108.08                 5300-000
                                                                                          Interest           6.68                  7990-000
 *        10/21/16     010070     Esquivel, Debra                                   Claim 000007, Payment 100.00000%                                                                 1,883.17        346,515.80
                                  2035 Presidential Pkwy
                                  Twinsburg OH 44087
                                                                                          Claim           1,871.80                 5300-000
                                                                                          Interest          11.37                  7990-000
 *        10/21/16     010071     Brenn, Kelly                                      Claim 000010, Payment 100.00000%                                                                 1,524.51        344,991.29


                                                                                                                             Page Subtotals                        0.00               9,626.16
                                                                                                                                                                                                         Ver: 21.00a
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                          Exhibit 9
  Case No:             15-11415 -AIH                                                                                      Trustee Name:                    DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                   Bank Name:                       BOK Financial
                                                                                                                          Account Number / CD #:           *******4864 Checking
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                             Blanket Bond (per case limit):   $ 2,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1              2                               3                                              4                                            5                       6                  7
     Transaction      Check or                                                                                                   Uniform                                                     Account / CD
        Date          Reference               Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
                                  5876 Bolender Road
                                  Akron OH 44319
                                                                                       Claim           1,515.37                 5300-000
                                                                                       Interest           9.14                  7990-000
 *        10/21/16     010072     Orlando, Marlene                               Claim 000011, Payment 100.00000%                                                                 823.21         344,168.08
                                  29516 Robert St
                                  Wickliffe OH 44092
                                                                                       Claim            818.24                  5300-000
                                                                                       Interest           4.97                  7990-000
 *        10/21/16     010073     Kovacik, Judith                                Claim 000014, Payment 100.00000%                                                                 586.41         343,581.67
                                  19832 Winding Trail
                                  Strongsville OH 44149
                                                                                       Claim            582.92                  5300-000
                                                                                       Interest           3.49                  7990-000
 *        10/21/16     010074     Boston, Janice                                 Claim 000015, Payment 100.00000%                                                                 728.09         342,853.58
                                  2548 Congo Street
                                  Akron OH 44305
                                                                                       Claim            723.71                  5300-000
                                                                                       Interest           4.38                  7990-000
 *        10/21/16     010075     Denise Womack                                  Claim 000018, Payment 100.00000%                                                                 759.72         342,093.86
                                  1180 Orchard Hts. Dr.
                                  Mayfield Heights, OH 44124
                                                                                       Claim            755.17                  5300-000
                                                                                       Interest           4.55                  7990-000
 *        10/21/16     010076     Hague, Patricia                                Claim 000020, Payment 100.00000%                                                                 712.20         341,381.66
                                  17022 Parklane Dr
                                  Stongsville OH 44136
                                                                                       Claim            707.90                  5300-000
                                                                                       Interest           4.30                  7990-000


                                                                                                                          Page Subtotals                        0.00              3,609.63
                                                                                                                                                                                                     Ver: 21.00a
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                                                                                                   FORM 2                                                                                      Page:    43
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit 9
  Case No:             15-11415 -AIH                                                                                       Trustee Name:                    DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                    Bank Name:                       BOK Financial
                                                                                                                           Account Number / CD #:           *******4864 Checking
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                              Blanket Bond (per case limit):   $ 2,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1              2                                3                                              4                                            5                       6                   7
     Transaction      Check or                                                                                                    Uniform                                                      Account / CD
        Date          Reference                Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
 *        10/21/16     010077     Bitner, Diane                                   Claim 000037, Payment 100.00000%                                                                  292.71         341,088.95
                                  26 Morningside Dr
                                  Chagrin Falls OH 44022
                                                                                        Claim            290.96                  5300-000
                                                                                        Interest           1.75                  7990-000
 *        10/21/16     010078     Goode, Andria                                   Claim 000039, Payment 100.00000%                                                                  456.35         340,632.60
                                  283 E. North Street
                                  Akron OH 44304
                                                                                        Claim            453.60                  5300-000
                                                                                        Interest           2.75                  7990-000
 *        10/21/16     010079     Sandra K. Kocher                                Claim 000050, Payment 100.00000%                                                                 1,136.24        339,496.36
                                  5986 Easy Pace Circle NW
                                  Canton, OH 44718
                                                                                        Claim           1,129.40                 5300-000
                                                                                        Interest           6.84                  7990-000
 *        10/21/16     010080     Boresz, Marjorie                                Claim 000051, Payment 100.00000%                                                                  620.30         338,876.06
                                  11271 Nicole's Way
                                  Chardon, OH 44024
                                                                                        Claim            616.58                  5300-000
                                                                                        Interest           3.72                  7990-000
 *        10/21/16     010081     Hulec, Karen                                    Claim 000068, Payment 100.00000%                                                                  130.40         338,745.66
                                  26080 Hickory Lane
                                  Olmsted Falls OH 44138
                                                                                        Claim            129.62                  5300-000
                                                                                        Interest           0.78                  7990-000
 *        10/24/16                INTERNAL REVENUE SERVICE                        MEDICARE TAX                                   5300-000                                          -346.44         339,092.10
                                  PO BOX 21125                                    error
                                  PHILADELPHIA, PA 19114
 *        10/24/16                INTERNAL REVENUE SERVICE                        MEDICARE MATCH                                 5800-000                                          -346.44         339,438.54


                                                                                                                           Page Subtotals                        0.00               1,943.12
                                                                                                                                                                                                       Ver: 21.00a
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                                                                                                FORM 2                                                                                        Page:    44
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit 9
  Case No:             15-11415 -AIH                                                                                      Trustee Name:                    DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                   Bank Name:                       BOK Financial
                                                                                                                          Account Number / CD #:           *******4864 Checking
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                             Blanket Bond (per case limit):   $ 2,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1              2                             3                                                4                                            5                       6                   7
     Transaction      Check or                                                                                                   Uniform                                                      Account / CD
        Date          Reference               Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                  PO BOX 21125                                   error
                                  PHILADELPHIA, PA 19114
          10/24/16                INTERNAL REVENUE SERVICE                       MEDICARE TAX                                   5300-000                                            346.44        339,092.10
                                  PO BOX 21125
                                  PHILADELPHIA, PA 19114
          10/24/16                INTERNAL REVENUE SERVICE                       MEDICARE MATCH                                 5800-000                                            346.44        338,745.66
                                  PO BOX 21125
                                  PHILADELPHIA, PA 19114
 *        10/24/16                INTERNAL REVENUE SERVICE                       SOCIAL SECURITY                                5300-000                                          -1,481.31       340,226.97
                                  PO BOX 21125                                   error
                                  PHILADELPHIA, PA 19114
 *        10/24/16                INTERNAL REVENUE SERVICE                       SS FICA MATCH                                  5800-000                                          -1,481.31       341,708.28
                                  PO BOX 21125                                   error
                                  PHILADELPHIA, PA 19114
          10/24/16                INTERNAL REVENUE SERVICE                       SOCIAL SECURITY                                5300-000                                          1,481.31        340,226.97
                                  PO BOX 21125
                                  PHILADELPHIA, PA 19114
          10/24/16                INTERNAL REVENUE SERVICE                       SS FICA MATCH                                  5800-000                                          1,481.31        338,745.66
                                  PO BOX 21125
                                  PHILADELPHIA, PA 19114
 *        10/24/16                INTERNAL REVENUE SERVICE                       Federal Income Tax                             5300-000                                          -4,778.44       343,524.10
                                  PO BOX 21125                                   error
                                  PHILADELPHIA, PA 19114
          10/24/16                INTERNAL REVENUE SERVICE                       Federal Income Tax                             5300-000                                          4,778.44        338,745.66
                                  PO BOX 21125
                                  PHILADELPHIA, PA 19114
 *        10/24/16     010059     OHIO DEPT OF TAXATION                          OHIO TAX                                       5300-000                                           -716.77        339,462.43
                                  PO BOX 530                                     error
                                  COLUMBUS, OH 43266-0030
 *        10/24/16     010060     Regional Income Tax Agency                     S EUCLID                                       5300-000                                           -127.29        339,589.72

                                                                                                                          Page Subtotals                        0.00                -151.18
                                                                                                                                                                                                      Ver: 21.00a
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                               Exhibit 9
  Case No:             15-11415 -AIH                                                                                         Trustee Name:                    DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                      Bank Name:                       BOK Financial
                                                                                                                             Account Number / CD #:           *******4864 Checking
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                                Blanket Bond (per case limit):   $ 2,000,000.00
                                                                                                                             Separate Bond (if applicable):


           1              2                                3                                                4                                            5                       6                    7
     Transaction      Check or                                                                                                      Uniform                                                       Account / CD
        Date          Reference               Paid To / Received From                           Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)        Balance ($)
                                  PO Box 477900                                  error
                                  Broadview Hts., OH 44147
 *        10/24/16     010061     JEDDS                                          Akron                                             5300-000                                           -219.15         339,808.87
                                  PO Box 80538                                   error
                                  Akron, OH 44038
 *        10/24/16     010062     City of PARMA                                  Parma                                             5300-000                                           -127.07         339,935.94
                                  Div of Taxation                                errior
                                  6611 Ridge Rd
                                  Parma, OH 44129
 *        10/24/16     010063     Regional Income Tax Agency                     RITA FOR WESTLAKE                                 5300-000                                            -15.76         339,951.70
                                  PO Box 477900                                  error
                                  Broadviwe Hts., OH 44147-7900
 *        10/24/16     010064     Regional Income Tax Agency                     Cleveland Hts Div Tax                             5300-000                                            -37.23         339,988.93
                                  PO Box 477900                                  error
                                  Broadview Hts., OH 44147
 *        10/24/16     010065     Hardesty, Anna                                 Claim 000001, Payment 100.00000%                                                                     -267.92         340,256.85
                                  284 E Baird Ave                                error
                                  Barberton OH 44203
                                                                                          Claim       (      266.31 )              5300-000
                                                                                          Interest    (         1.61)              7990-000
 *        10/24/16     010066     Maria J. Keeler                                Claim 000002, Payment 100.00000%                                                                    -2,985.35        343,242.20
                                  3410 Chestnut Hill Dr.                         error
                                  Medina, OH 44256
                                                                                          Claim       (     2,967.39 )             5300-000
                                                                                          Interest    (         17.96)             7990-000
 *        10/24/16     010067     Lewis, Kyle                                    Claim 000003, Payment 100.00000%                                                                    -1,117.10        344,359.30
                                  1429 Lander Road                               error
                                  Cleveland OH 44124
                                                                                          Claim       (     1,110.38 )             5300-000


                                                                                                                             Page Subtotals                        0.00               -4,769.58
                                                                                                                                                                                                          Ver: 21.00a
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                            Exhibit 9
  Case No:             15-11415 -AIH                                                                                      Trustee Name:                    DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                   Bank Name:                       BOK Financial
                                                                                                                          Account Number / CD #:           *******4864 Checking
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                             Blanket Bond (per case limit):   $ 2,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1              2                                3                                             4                                            5                       6                    7
     Transaction      Check or                                                                                                   Uniform                                                       Account / CD
        Date          Reference               Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)        Balance ($)
                                                                                       Interest    (         6.72)              7990-000
 *        10/24/16     010068     Nemeth, Marianna                               Claim 000004, Payment 100.00000%                                                                 -1,001.27        345,360.57
                                  2140 Bellus Rd                                 error
                                  Hinckley OH 44233
                                                                                       Claim       (      995.25 )              5300-000
                                                                                       Interest    (         6.02)              7990-000
 *        10/24/16     010069     McDicken, Susan                                Claim 000005, Payment 100.00000%                                                                 -1,114.76        346,475.33
                                  12929 Vincent Dr.                              error
                                  Chesterland OH 44026
                                                                                       Claim       (     1,108.08 )             5300-000
                                                                                       Interest    (         6.68)              7990-000
 *        10/24/16     010070     Esquivel, Debra                                Claim 000007, Payment 100.00000%                                                                 -1,883.17        348,358.50
                                  2035 Presidential Pkwy                         error
                                  Twinsburg OH 44087
                                                                                       Claim       (     1,871.80 )             5300-000
                                                                                       Interest    (         11.37)             7990-000
 *        10/24/16     010071     Brenn, Kelly                                   Claim 000010, Payment 100.00000%                                                                 -1,524.51        349,883.01
                                  5876 Bolender Road                             error
                                  Akron OH 44319
                                                                                       Claim       (     1,515.37 )             5300-000
                                                                                       Interest    (         9.14)              7990-000
 *        10/24/16     010072     Orlando, Marlene                               Claim 000011, Payment 100.00000%                                                                  -823.21         350,706.22
                                  29516 Robert St                                error
                                  Wickliffe OH 44092
                                                                                       Claim       (      818.24 )              5300-000
                                                                                       Interest    (         4.97)              7990-000
 *        10/24/16     010073     Kovacik, Judith                                Claim 000014, Payment 100.00000%                                                                  -586.41         351,292.63
                                  19832 Winding Trail                            error
                                  Strongsville OH 44149


                                                                                                                          Page Subtotals                        0.00               -6,933.33
                                                                                                                                                                                                       Ver: 21.00a
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                            Exhibit 9
  Case No:             15-11415 -AIH                                                                                       Trustee Name:                    DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                    Bank Name:                       BOK Financial
                                                                                                                           Account Number / CD #:           *******4864 Checking
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                              Blanket Bond (per case limit):   $ 2,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1              2                                3                                              4                                            5                       6                    7
     Transaction      Check or                                                                                                    Uniform                                                       Account / CD
        Date          Reference                Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)        Balance ($)
                                                                                        Claim       (      582.92 )              5300-000
                                                                                        Interest    (         3.49)              7990-000
 *        10/24/16     010074     Boston, Janice                                  Claim 000015, Payment 100.00000%                                                                  -728.09         352,020.72
                                  2548 Congo Street                               error
                                  Akron OH 44305
                                                                                        Claim       (      723.71 )              5300-000
                                                                                        Interest    (         4.38)              7990-000
 *        10/24/16     010075     Denise Womack                                   Claim 000018, Payment 100.00000%                                                                  -759.72         352,780.44
                                  1180 Orchard Hts. Dr.                           error
                                  Mayfield Heights, OH 44124
                                                                                        Claim       (      755.17 )              5300-000
                                                                                        Interest    (         4.55)              7990-000
 *        10/24/16     010076     Hague, Patricia                                 Claim 000020, Payment 100.00000%                                                                  -712.20         353,492.64
                                  17022 Parklane Dr                               error
                                  Stongsville OH 44136
                                                                                        Claim       (      707.90 )              5300-000
                                                                                        Interest    (         4.30)              7990-000
 *        10/24/16     010077     Bitner, Diane                                   Claim 000037, Payment 100.00000%                                                                  -292.71         353,785.35
                                  26 Morningside Dr                               error
                                  Chagrin Falls OH 44022
                                                                                        Claim       (      290.96 )              5300-000
                                                                                        Interest    (         1.75)              7990-000
 *        10/24/16     010078     Goode, Andria                                   Claim 000039, Payment 100.00000%                                                                  -456.35         354,241.70
                                  283 E. North Street                             error
                                  Akron OH 44304
                                                                                        Claim       (      453.60 )              5300-000
                                                                                        Interest    (         2.75)              7990-000
 *        10/24/16     010079     Sandra K. Kocher                                Claim 000050, Payment 100.00000%                                                                 -1,136.24        355,377.94
                                  5986 Easy Pace Circle NW                        error


                                                                                                                           Page Subtotals                        0.00               -4,085.31
                                                                                                                                                                                                        Ver: 21.00a
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit 9
  Case No:             15-11415 -AIH                                                                                        Trustee Name:                    DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                     Bank Name:                       BOK Financial
                                                                                                                            Account Number / CD #:           *******4864 Checking
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                               Blanket Bond (per case limit):   $ 2,000,000.00
                                                                                                                            Separate Bond (if applicable):


           1              2                                3                                               4                                            5                       6                 7
     Transaction      Check or                                                                                                     Uniform                                                    Account / CD
        Date          Reference               Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)     Balance ($)
                                  Canton, OH 44718
                                                                                         Claim       (     1,129.40 )             5300-000
                                                                                         Interest    (         6.84)              7990-000
 *        10/24/16     010080     Boresz, Marjorie                               Claim 000051, Payment 100.00000%                                                                   -620.30       355,998.24
                                  11271 Nicole's Way                             error
                                  Chardon, OH 44024
                                                                                         Claim       (      616.58 )              5300-000
                                                                                         Interest    (         3.72)              7990-000
 *        10/24/16     010081     Hulec, Karen                                   Claim 000068, Payment 100.00000%                                                                   -130.40       356,128.64
                                  26080 Hickory Lane                             error
                                  Olmsted Falls OH 44138
                                                                                         Claim       (      129.62 )              5300-000
                                                                                         Interest    (         0.78)              7990-000
          10/24/16     010082     OHIO DEPT OF TAXATION                          OHIO TAX                                         5300-000                                          716.77        355,411.87
                                  PO BOX 530
                                  COLUMBUS, OH 43266-0030
          10/24/16     010083     Regional Income Tax Agency                     S EUCLID                                         5300-000                                          127.29        355,284.58
                                  PO Box 477900
                                  Broadview Hts., OH 44147
          10/24/16     010084     JEDDS                                          Akron                                            5300-000                                          219.15        355,065.43
                                  PO Box 80538
                                  Akron, OH 44038
          10/24/16     010085     City of PARMA                                  Parma                                            5300-000                                          127.07        354,938.36
                                  Div of Taxation
                                  6611 Ridge Rd
                                  Parma, OH 44129
          10/24/16     010086     Regional Income Tax Agency                     RITA FOR WESTLAKE                                5300-000                                           15.76        354,922.60
                                  PO Box 477900
                                  Broadviwe Hts., OH 44147-7900


                                                                                                                            Page Subtotals                        0.00               455.34
                                                                                                                                                                                                      Ver: 21.00a
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                                                                                                FORM 2                                                                                        Page:    49
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit 9
  Case No:             15-11415 -AIH                                                                                      Trustee Name:                    DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                   Bank Name:                       BOK Financial
                                                                                                                          Account Number / CD #:           *******4864 Checking
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                             Blanket Bond (per case limit):   $ 2,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1              2                                3                                             4                                            5                       6                   7
     Transaction      Check or                                                                                                   Uniform                                                      Account / CD
        Date          Reference               Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          10/24/16     010087     Regional Income Tax Agency                     Cleveland Hts Div Tax                          5300-000                                            37.23         354,885.37
                                  PO Box 477900
                                  Broadview Hts., OH 44147
          10/24/16     010088     Hardesty, Anna                                 Claim 000001, Payment 100.00000%               5300-000                                           266.31         354,619.06
                                  284 E Baird Ave
                                  Barberton OH 44203
          10/24/16     010089     Maria J. Keeler                                Claim 000002, Payment 100.00000%               5300-000                                          2,967.39        351,651.67
                                  3410 Chestnut Hill Dr.
                                  Medina, OH 44256
          10/24/16     010090     Lewis, Kyle                                    Claim 000003, Payment 100.00000%               5300-000                                          1,110.38        350,541.29
                                  1429 Lander Road
                                  Cleveland OH 44124
          10/24/16     010091     Nemeth, Marianna                               Claim 000004, Payment 100.00000%               5300-000                                           995.25         349,546.04
                                  2140 Bellus Rd
                                  Hinckley OH 44233
          10/24/16     010092     McDicken, Susan                                Claim 000005, Payment 100.00000%               5300-000                                          1,108.08        348,437.96
                                  12929 Vincent Dr.
                                  Chesterland OH 44026
 *        10/24/16     010093     Esquivel, Debra                                Claim 000007, Payment 100.00000%               5300-000                                          1,871.80        346,566.16
                                  2035 Presidential Pkwy
                                  Twinsburg OH 44087
          10/24/16     010094     Brenn, Kelly                                   Claim 000010, Payment 100.00000%               5300-000                                          1,515.37        345,050.79
                                  5876 Bolender Road
                                  Akron OH 44319
          10/24/16     010095     Orlando, Marlene                               Claim 000011, Payment 100.00000%               5300-000                                           818.24         344,232.55
                                  29516 Robert St
                                  Wickliffe OH 44092
          10/24/16     010096     Kovacik, Judith                                Claim 000014, Payment 100.00000%               5300-000                                           582.92         343,649.63
                                  19832 Winding Trail
                                  Strongsville OH 44149

                                                                                                                          Page Subtotals                        0.00              11,272.97
                                                                                                                                                                                                      Ver: 21.00a
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                          Exhibit 9
  Case No:             15-11415 -AIH                                                                                        Trustee Name:                    DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                     Bank Name:                       BOK Financial
                                                                                                                            Account Number / CD #:           *******4864 Checking
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                               Blanket Bond (per case limit):   $ 2,000,000.00
                                                                                                                            Separate Bond (if applicable):


           1              2                                3                                                 4                                          5                     6                   7
    Transaction       Check or                                                                                                     Uniform                                                    Account / CD
       Date           Reference                Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)       Disbursements ($)        Balance ($)
          10/24/16     010097     Boston, Janice                                  Claim 000015, Payment 100.00000%                5300-000                                         723.71         342,925.92
                                  2548 Congo Street
                                  Akron OH 44305
          10/24/16     010098     Denise Womack                                   Claim 000018, Payment 100.00000%                5300-000                                         755.17         342,170.75
                                  1180 Orchard Hts. Dr.
                                  Mayfield Heights, OH 44124
          10/24/16     010099     Hague, Patricia                                 Claim 000020, Payment 100.00000%                5300-000                                         707.90         341,462.85
                                  17022 Parklane Dr
                                  Stongsville OH 44136
          10/24/16     010100     Bitner, Diane                                   Claim 000037, Payment 100.00000%                5300-000                                         290.96         341,171.89
                                  26 Morningside Dr
                                  Chagrin Falls OH 44022
          10/24/16     010101     Goode, Andria                                   Claim 000039, Payment 100.00000%                5300-000                                         453.60         340,718.29
                                  283 E. North Street
                                  Akron OH 44304
          10/24/16     010102     Sandra K. Kocher                                Claim 000050, Payment 100.00000%                5300-000                                        1,129.40        339,588.89
                                  5986 Easy Pace Circle NW
                                  Canton, OH 44718
          10/24/16     010103     Boresz, Marjorie                                Claim 000051, Payment 100.00000%                5300-000                                         616.58         338,972.31
                                  11271 Nicole's Way
                                  Chardon, OH 44024
          10/24/16     010104     Hulec, Karen                                    Claim 000068, Payment 100.00000%                5300-000                                         129.62         338,842.69
                                  26080 Hickory Lane
                                  Olmsted Falls OH 44138
          10/26/16        4       First Federal Credit Control                    Account(s) Receivable(s)                        1121-000                   204.97                               339,047.66
                                                                                  Reporting Period October, 2016
          10/26/16        4       Susie Nagy                                      Account(s) Receivable(s)                        1121-000                    50.00                               339,097.66
                                  P.O. Box 374                                    Account number 284614
                                  Conneaut, OH 44030
          10/31/16                Bank of Kansas City                             BANK SERVICE FEE                                2600-000                                         544.57         338,553.09

                                                                                                                            Page Subtotals                   254.97                5,351.51
                                                                                                                                                                                                      Ver: 21.00a
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                             Exhibit 9
  Case No:             15-11415 -AIH                                                                                         Trustee Name:                      DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                      Bank Name:                         BOK Financial
                                                                                                                             Account Number / CD #:             *******4864 Checking
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                                Blanket Bond (per case limit):     $ 2,000,000.00
                                                                                                                             Separate Bond (if applicable):


           1              2                                3                                                 4                                           5                       6                   7
     Transaction      Check or                                                                                                      Uniform                                                      Account / CD
        Date          Reference                Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)
          11/29/16        4       First Federal Credit Control                    Account(s) Receivable(s)                         1121-000                    402.51                                338,955.60
                                                                                  Reporting Period November, 2016
          11/30/16                Bank of Kansas City                             BANK SERVICE FEE                                 2600-000                                            503.58        338,452.02
 *        12/12/16     010093     Esquivel, Debra                                 Claim 000007, Payment 100.00000%                 5300-000                                          -1,871.80       340,323.82
                                  2035 Presidential Pkwy
                                  Twinsburg OH 44087
          12/12/16     010105     Esquivel, Debra                                 Claim 000007, Payment 100.00000%                 5300-000                                          1,871.80        338,452.02
                                  106 Chimney Rock Lane
                                  Fort Mills, SC 29708
          12/13/16        4       Craig Shopneck, Chpt 13 Trustee                 Account(s) Receivable(s)                         1121-000                     11.66                                338,463.68
                                  Estate of Mathews 15-12855
          12/27/16        4       First Federal Credit Control                    Account(s) Receivable(s)                         1121-000                   1,908.53                               340,372.21
                                                                                  Reporting Period December, 2016
          12/30/16                Bank of Kansas City                             BANK SERVICE FEE                                 2600-000                                            504.82        339,867.39
          01/11/17     010106     Insurance Partners Agency                       Premium on Trustee's Bond                        2300-000                                            155.00        339,712.39
                                  26865 Center Ridge Road                         Insurance Partners Agency
                                  Westlake, OH 44145                              26865 Center Ridge Road
                                                                                  Westlake, OH 44145
          01/30/17        4       First Federal Credit Control                    Account(s) Receivable(s)                         1121-000                    546.02                                340,258.41
                                                                                  January, 2017 Reporting Period
          01/30/17        4       Susie Nagy                                      Account(s) Receivable(s)                         1121-000                     50.00                                340,308.41
                                  P.O. Box 374                                    Account number 248614
                                  Conneaut, OH 44030
          01/30/17     010107     Clerk, Cuyaoga County Probate Court             filing fee, Lynch estate                         2990-000                                             15.00        340,293.41
          01/31/17                Bank of Kansas City                             BANK SERVICE FEE                                 2600-000                                            504.94        339,788.47
          02/28/17                BOK Financial                                   BANK SERVICE FEE                                 2600-000                                            456.12        339,332.35
          03/01/17        4       First Federal Credit Control                    Account(s) Receivable(s)                         1121-000                    560.69                                339,893.04
                                                                                  Reporting Period February, 2017
          03/15/17        4       Craig Shopneck, Chpt 13 Trustee                 Account(s) Receivable(s)                         1121-000                     65.31                                339,958.35


                                                                                                                             Page Subtotals                   3,544.72                2,139.46
                                                                                                                                                                                                         Ver: 21.00a
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                          Exhibit 9
  Case No:             15-11415 -AIH                                                                                        Trustee Name:                      DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                     Bank Name:                         BOK Financial
                                                                                                                            Account Number / CD #:             *******4864 Checking
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                               Blanket Bond (per case limit):     $ 2,000,000.00
                                                                                                                            Separate Bond (if applicable):


           1              2                                3                                                 4                                          5                       6                 7
    Transaction       Check or                                                                                                     Uniform                                                    Account / CD
       Date           Reference                Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
                                  Estate of 15-12855 Mathews
          03/20/17        4       Susie Nagy                                      Account(s) Receivable(s)                        1121-000                     25.00                              339,983.35
                                  P.O. Box 374                                    Account number 248614
                                  Conneaut, OH 44030
          03/27/17        4       First Federal Credit Control                    Account(s) Receivable(s)                        1121-000                    629.11                              340,612.46
                                                                                  March, 2017 Reporting Period
          03/31/17                BOK Financial                                   BANK SERVICE FEE                                2600-000                                          505.14        340,107.32
          04/12/17        4       Susie M. Nagy                                   Account(s) Receivable(s)                        1121-000                     25.00                              340,132.32
                                  P.O. Box 374                                    Account number 248614
                                  Conneaut, OH 44030
          04/14/17       24       US Treasury                                     tax Refund 2015                                 1224-000                   2,190.73                             342,323.05
                                  2015 tax refund
          04/26/17        4       First Federal Credit Control                    Account(s) Receivable(s)                        1121-000                    523.06                              342,846.11
                                                                                  April, 2017 Reporting Period
          04/28/17                BOK Financial                                   BANK SERVICE FEE                                2600-000                                          490.47        342,355.64
          05/19/17        4       Susie Nagy                                      Account(s) Receivable(s)                        1121-000                     25.00                              342,380.64
                                  P.O. Box 374
                                  Conneaut, OH 44030
          05/24/17        4       First Federal Credit Control                    Account(s) Receivable(s)                        1121-000                    251.30                              342,631.94
                                                                                  Reporting Period May, 2017
          05/31/17                BOK Financial                                   BANK SERVICE FEE                                2600-000                                          508.87        342,123.07
          06/26/17        4       First Federal Credit Control                    Account(s) Receivable(s)                        1121-000                    474.87                              342,597.94
                                                                                  Reporting Period June, 2017
          06/30/17                BOK Financial                                   BANK SERVICE FEE                                2600-000                                          492.13        342,105.81
          07/28/17     010108     BANK OF KANSAS CITY                             TRANSFER TO SUCCESSOR TRUSTEE                   9999-000                                      342,105.81                  0.00




                                                                                                                            Page Subtotals                   4,144.07            344,102.42
                                                                                                                                                                                                      Ver: 21.00a
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                    Exhibit 9
  Case No:             15-11415 -AIH                                                                                     Trustee Name:                       DAVID O. SIMON, TRUSTEE
  Case Name:           UNIVERSITY DERMATOLOGISTS, INC.,                                                                  Bank Name:                          BOK Financial
                                                                                                                         Account Number / CD #:              *******4864 Checking
  Taxpayer ID No:    *******7177
  For Period Ending: 02/19/19                                                                                            Blanket Bond (per case limit):      $ 2,000,000.00
                                                                                                                         Separate Bond (if applicable):


          1               2                             3                                            4                                                 5                          6                         7
    Transaction       Check or                                                                                                  Uniform                                                               Account / CD
       Date           Reference               Paid To / Received From                    Description Of Transaction            Tran. Code       Deposits ($)            Disbursements ($)              Balance ($)

                                                                                                     COLUMN TOTALS                                    949,052.72                  949,052.72                          0.00
                                                                                                         Less: Bank Transfers/CD's                          0.00                  342,105.81
                                                                                                     Subtotal                                         949,052.72              606,946.91
                                                                                                         Less: Payments to Debtors                                                773.83
                                                                                                     Net
                                                                                                                                                      949,052.72              606,173.08
                                                                                                                                                                             NET                             ACCOUNT
                                                                                                     TOTAL - ALL ACCOUNTS                      NET DEPOSITS             DISBURSEMENTS                        BALANCE
                                                                                                     Checking Account - ********6468                     32,284.39                 374,390.20                          0.00
                                                                                                             Checking - ********4864                   949,052.72                  606,173.08                          0.00
                                                                                                                                             ------------------------    ------------------------   ------------------------
                                                                                                                                                       981,337.11                  980,563.28                          0.00
                                                                                                                                             ==============             ==============              ==============
                                                                                                                                              (Excludes Account         (Excludes Payments                   Total Funds
                                                                                                                                                         Transfers)               To Debtors)                    On Hand




                                                                                                                         Page Subtotals                        0.00                        0.00
                                                                                                                                                                                                                Ver: 21.00a
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